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                       Exhibit 1
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                                                                                                                              Exhibit 10.1

                                             SECURITIES EXCHANGE AGREEMENT

        This SECURITIES EXCHANGE AGREEMENT dated as of August 20, 2015 (this “Agreement”) is made by and between
Navidea Biopharmaceuticals, Inc., a Delaware corporation (the “Company”), and Montsant Partners LLC, a Delaware limited liability
company (“Montsant”), and Platinum Partners Value Arbitrage Fund, L.P. (“Platinum” and, together with Montsant, the “Investors”).

                                                                 Recitals

        A.         The Investors hold an aggregate of 4,519 shares of the Company’s Series B Convertible Preferred Stock, par value
$0.001 per share (the “Series B Shares”), that are currently convertible into an aggregate of 14,777,130 shares of the Company’s
Common Stock, par value $0.001 per share (the “Common Stock”).

        B.        The Company has requested that the Investors exchange their respective Series B Shares for Warrants to acquire an
aggregate of 14,777,130 shares of Common Stock at an exercise price per share of $0.01 per share.

         C.       The Investors are willing to so exchange their Series B Shares on the terms and conditions set forth herein.

                                                        Statement of Agreement

        In consideration of the foregoing, and of their mutual agreements set forth herein, and for other good and valuable
consideration, the receipt and adequacy of which are hereby acknowledged, the parties agree as follows:

         Section 1.       Defined Terms.

         Capitalized terms used in this Agreement and not otherwise defined shall have the meanings stated as follows:

         “Affiliate” shall mean, with respect to any Person, any other Person that directly or indirectly controls or is controlled by or
under common control with such Person. For the purposes of this definition, “control,” when used with respect to any Person, means
the possession, direct or indirect, of the power to direct or cause the direction of the management and policies of such Person, whether
through the ownership of voting securities, by contract or otherwise; and the terms of “affiliated,” “controlling” and “controlled” have
meanings correlative to the foregoing.

          “By-laws” shall mean, unless the context in which such term is used otherwise requires, the By-laws of the Company or any
of its Subsidiaries as in effect on a Closing Date.

        “Certificate of Incorporation” shall mean, unless the context in which it is used shall otherwise require, the Certificate of
Incorporation of the Company or any of its Subsidiaries as in effect on the Closing Date require.
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          “Commission” shall mean the Securities and Exchange Commission or any similar agency then having jurisdiction to
 enforce the Securities Act.

         “Contractual Obligations” shall mean as to the Company, any provision of any security issued by the Company or of any
 agreement, undertaking, contract, indenture, mortgage, deed of trust or other instrument or arrangement (whether in writing or
 otherwise) to which such Person is a party or by which it or any of the Company’s property is bound.

        “Exchange Act” shall mean the Securities Exchange Act of 1934, as amended, and the rules and regulations of the
 Commission thereunder

          “Governmental Authority” shall mean the government of any nation, state, city, locality or other political subdivision of any
thereof, any entity exercising executive, legislative, judicial, regulatory or administrative functions of or pertaining to government,
regulation or compliance, and any corporation or other entity owned or controlled, through stock or capital ownership or otherwise, by
any of the foregoing.

         “Lien” shall mean any mortgage, deed of trust, pledge, hypothecation, assignment, encumbrance, lien (statutory or other),
charge, claim, restriction or preference, priority, right or other security interest or preferential arrangement of any kind or nature
whatsoever (excluding preferred stock and equity related preferences) including, without limitation, those created by, arising under or
evidenced by any conditional sale or other title retention agreement, the interest of a lessor under a capital lease obligation, or any
financing lease having substantially the same economic effect as any of the foregoing..

         “Material Adverse Effect” shall mean a material adverse effect on, or a material adverse change in, or a group of such effects
on or changes in (i) the assets, business, properties, prospects, operations, or financial condition of the Company and its Subsidiaries,
taken as a whole, or (ii) the ability of the Company to perform its obligations under this Agreement.

        “Person” shall mean any individual, firm, corporation, limited liability company, partnership, trust, incorporated or
unincorporated association, joint venture, joint stock company, Governmental Authority or other entity of any kind, and shall include
any successor (by merger or otherwise) of such entity.

         “Securities” means the Warrants and the Common Stock issuable upon exercise thereof.

         “Securities Act” shall mean the Securities Act of 1933, as amended, or any similar federal statute, and the rules and
regulations thereunder as the same shall be in effect at the time.
“Securities Act” shall mean the Securities Act of 1933, as amended, or any similar federal statute, and the rules and regulations
thereunder as the same shall be in effect at the time.

         “Subsidiary” shall mean, with respect to any Person, a corporation or other entity of which 50% or more of the voting power
of the voting equity securities or equity interest is owned, directly or indirectly, by such Person. Unless otherwise qualified, all
references to a “Subsidiary” or to “Subsidiaries” in this Agreement shall refer to a Subsidiary or Subsidiaries of the Company or of a
Subsidiary of the Company.


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         “Transaction Documents” shall mean collectively, this Agreement and the Warrants.

         Section 2.       Exchange of Securities.

                   (a)       Subject to the terms and conditions herein set forth, at the Closing (as defined below) each Investor agrees
to deliver to the Company the Series B Stock set forth on Exhibit A hereto set forth opposite its name under the heading “Preferred
Stock” (collectively, the “Original Securities”) in exchange for a 20 year Common Stock Purchase Warrant in the form attached hereto
as Exhibit B (collectively, the “Warrants”) to acquire an a number of shares of Common Stock set forth opposite its name on Exhibit A
hereto under the heading “Warrant Shares” at an exercise price per share of $0.01 per share. In consideration of and in express reliance
upon the representations, warranties, covenants, terms and conditions of this Agreement, the Company agrees to issue and deliver the
Warrants in exchange for the Original Securities.

                   (b)      The closing of the transactions contemplated by this Agreement ( the “Closing”) shall occur simultaneously
with the execution and delivery of this Agreement or on such later date and time as the Parties may agree (the “Closing Date”) at the
offices of Investors, 250 West 55th Street, 14th Floor, New York, NY 10019.

                 (c)        At the Closing, the Investors shall deliver to the Company for cancellation the certificates evidencing all
Series B Stock held by the Investors. At the Closing, the Company shall issue to Investors the duly executed and delivered Warrants.

         Section 3.       Representations and Warranties of the Company.

                 (a)       The Company is a corporation duly organized, validly existing and in good standing under the laws of the
State of Delaware and has the corporate power and authority to execute, deliver and perform its obligations under this Agreement.

                   (b)        The execution, delivery and performance by the Company of this Agreement, the issuance of the Warrants,
the exercise of the same in accordance with its terms, and the consummation of the transactions contemplated hereby and thereby (a)
has been duly authorized by all necessary corporate action; (b) do not and will not contravene the terms of the Certificate of
Incorporation or By-laws of the Company or any amendment thereof or any federal, state, local or foreign statute, rule, regulation,
order, judgment or decree (including federal and state securities laws and regulations) applicable to the Company or any of its
Subsidiaries or by which any property or asset of the Company or any of its Subsidiaries are bound or affected, or any requirement of
any securities exchange on which the Common Stock is listed; (c) do not and will not (i) conflict with, contravene, result in any
material violation or breach of or material default under (with or without the giving of notice or the lapse of time or both), (ii) create in
any other Person a right or claim of termination or amendment, or (iii) require any material modification or acceleration or cancellation
of, any Contractual Obligation of the Company or any of its Subsidiaries; and (d) do not and will not result in the creation of any Lien
(or obligation to create a Lien) against any material property or asset of the Company or any of its, except, in all cases, for such
conflicts, defaults, terminations, amendments, acceleration, cancellations and violations as would not, individually or in the aggregate,
have a Material Adverse Effect.


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                   (c)        This Agreement has been duly executed and delivered by the Company, and this Agreement constitutes the
legal, valid and binding obligation of the Company enforceable against the Company in accordance with its terms, except as
enforceability may be limited by applicable bankruptcy, reorganization, moratorium, liquidation, conservatorship, receivership or
similar laws relating to, or affecting generally the enforcement of, creditor’s rights and remedies or by other equitable principles of
general application.

                   (d)        Neither the Company nor any of its Subsidiaries is required under federal, state, foreign or local law, rule or
regulation to obtain any consent, authorization or order of, or make any filing or registration with, any court or Governmental
Authority in order for it to execute, deliver or perform any of its obligations under this Agreement or issue the Warrants in accordance
with the terms hereof (other than any filings, consents and approvals which may be required to be made by the Company under
applicable state and federal securities laws, or rules).

                   (e)       The Warrants to be issued at the Closing has been duly authorized by all necessary corporate action and,
when issued in accordance with the terms hereof, shall be validly issued and outstanding, free and clear of all liens, encumbrances and
rights of refusal of any kind, and shall be fully paid and non-assessable.

                  (f)      The Company has authorized and reserved, and covenants to continue to reserve, free of preemptive rights
and other similar contractual rights of stockholders, shares of Common Stock sufficient to effect the exercise of the Warrants. All
shares of Common Stock receivable upon exercise of the Warrants have been accepted for listing by the NYSE MKT.

                 (g)       The Company covenants and agrees that, promptly following the Closing Date, all Series B Shares
exchanged by the Investors pursuant to this Agreement will be cancelled and retired by the Company.

       (g)       The Warrants shall be deemed to be a “Warrant” for all purposes under the Transaction Documents and, without
limiting the generality of the foregoing, shall be entitled to the benefits of the covenants set forth in this Agreement.

                   (h)      The Company has received no consideration (other than the Series B Shares) in connection with the
transactions contemplated hereby. As between the parties, the acquisition and payment of the full purchase price of the Warrants, for
purposes of Rule 144 under the Securities Act, shall be deemed to have occurred prior to June 1, 2013 (it being understood that any
cash exercise of the Warrants shall constitute additional consideration that may affect the availability of Rule 144 for purposes of
disposition of sales of Common Stock received upon exercise of the Warrants). The transactions contemplated herein are exempt from
the registration requirements of the Securities Act pursuant to Section 3(a)(9) thereof.


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         Section 4.        Representations and Warranties of Investors.

                 (a)      Montsant is a limited liability company duly organized, validly existing and in good standing under the
laws of Delaware. Platinum is a limited partnership duly organized, validly existing and in good standing under the laws of Delaware.

                   (b)       The Investors have the requisite power and authority to enter into and perform this Agreement and to
acquire the Warrants being issued to them hereunder. The execution, delivery and performance of this Agreement by the Investors and
the consummation by it of the transactions contemplated hereby (i) have been duly authorized by all necessary limited liability
company action, and (ii) do not contravene the terms of the organizational or governing documents of the Investors. No further consent
or authorization of the Investors, their board of directors or other governing body, or of their members or partners, as applicable, is
required for the execution, delivery or performance of this Agreement by the Investors. When executed and delivered by the Investors,
this Agreement shall constitute the valid and binding obligation of the Investors enforceable against the Investors in accordance with its
terms, except as such enforceability may be limited by applicable bankruptcy, insolvency, reorganization, moratorium, liquidation,
conservatorship, receivership or similar laws relating to, or affecting generally the enforcement of, creditor’s rights and remedies or by
other equitable principles of general application.

                   (c)       Each Investor owns and holds, beneficially and of record, the entire right, title, and interest in and to the
Original Securities set forth opposite its name on Exhibit A hereto, free and clear of any claim, restriction or Lien other than
restrictions on transfer under the Securities Act and applicable state securities laws.

                   (d)       Each Investor is acquiring the Warrants for its own account and not with a view to or for sale in connection
with a distribution thereof. The Investors do not have a present intention to sell any of the Warrants, nor a present arrangement
(whether or not legally binding) or intention to effect any distribution of any of the Securities to or through any Person or entity;
provided, however, that by making the representations herein, the Investors do not agree to hold the Warrants (or securities issued upon
exercise of the Warrants) for any minimum or other specific term and reserves the right to dispose of such securities at any time in
accordance with federal and state securities laws applicable to such disposition and the terms of the Warrants. Each Investor
acknowledges and agrees that the Warrants shall bear a legend to the following effect:


         THIS WARRANT AND THE SHARES OF COMMON STOCK ISSUABLE UPON EXERCISE HEREOF HAVE
         NOT BEEN REGISTERED UNDER THE SECURITIES ACT OF 1933, AS AMENDED (THE “SECURITIES
         ACT”) OR ANY STATE SECURITIES LAWS AND MAY NOT BE SOLD, TRANSFERRED OR OTHERWISE
         DISPOSED OF UNLESS REGISTERED UNDER THE SECURITIES ACT AND UNDER APPLICABLE STATE
         SECURITIES LAWS OR NAVIDEA BIOPHARMACEUTICALS, INC. SHALL HAVE RECEIVED AN OPINION
         OF COUNSEL THAT REGISTRATION OF SUCH SECURITIES UNDER THE SECURITIES ACT AND UNDER
         THE PROVISIONS OF APPLICABLE STATE SECURITIES LAWS IS NOT REQUIRED.


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                  (e)      Each Investor is an “accredited investor” as defined in Rule 501(a) under the Securities Act. Each Investor
has such experience in business and financial matters that it is capable of evaluating the merits and risks of an investment in the Series
B Shares. The Investors are not required to be registered as a broker-dealer under Section 15 of the Exchange Act and no Investor is a
broker-dealer. The Investors acknowledges that an investment in the Securities is speculative and involves a high degree of risk.

                   (f)      The Investors understand that the Warrants and the Common Stock receivable upon exercise of the same
have not been registered under the Securities Act and must be held indefinitely unless registered under the Securities Act or an
exemption from registration is available. The Investors acknowledge that they are familiar with Rule 144, and that the Investors have
been advised that Rule 144 permits resales of unregistered securities only under certain circumstances. The Investors understand that to
the extent that Rule 144 is not available, the Investors will be unable to sell the Warrants or any shares of Common Stock received
upon exercise of the same without either registration under the Securities Act or the existence of another exemption from such
registration requirement.

                   (g)       Each Investor has independently evaluated the merits of its decision to exchange the Series B Stock for the
Warrants pursuant to the Transaction Documents. The Investors have not relied on the business or legal advice of the Company or any
of its agents, counsel or Affiliates in making its investment decision hereunder, and confirms that none of such Persons has made any
representations or warranties to the Investors in connection with the transactions contemplated by the Transaction Documents other
than as contained therein

                   (h)       The Investors understand that the Warrants are being issued in reliance on an exemption from the
registration requirements of federal and state securities laws and the Company is relying upon the truth and accuracy of the
representations, warranties, agreements, acknowledgments and understandings of the Investors set forth herein in order to determine
the applicability of such exemptions. The Investors understand that no Governmental Authority has passed upon or made any
recommendation or endorsement of the Warrants or Common Stock.

                  (i)     The Investors have not employed any broker or finder or incurred any liability for any brokerage or
investment banking fees, commissions, finders’ structuring fees, financial advisory fees or other similar fees in connection with the
transactions contemplated by this Agreement.

                  (j)       Other than the other Investor and the Reporting Persons named in the Schedule 13G filed on or about
February 20, 2015 by Platinum and the other Reporting Persons named therein, no Investor has agreed to act with any other Person for
the purpose of acquiring, holding, voting or disposing of the Warrants acquired hereunder or the Common Stock receivable upon
exercise of the same for purposes of Section 13(d) of the Exchange Act, and each Investor is acting independently with respect to its
investment in the Securities.


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          Section 5.      Conditions Precedent to the Company’s Obligations. The obligation hereunder of the Company to issue and
deliver the Warrants to the Investors in exchange for the Original Securities is subject to the satisfaction or waiver, at or before the
Closing Date, of each of the conditions set forth below. These conditions are for the Company’s sole benefit and may be waived by the
Company at any time in its sole discretion.

                 (a)      The Investors shall have performed, satisfied and complied in all material respects with all covenants,
agreements and conditions required by this Agreement to be performed, satisfied or complied with by the Investors at or prior to the
Closing Date.

                  (b)        The representations and warranties of the Investors shall be true and correct in all material respects as of
the date when made and as of the Closing Date as though made at that time, except for representations and warranties that are expressly
made as of a particular date, which shall be true and correct in all material respects as of such date.

                  (c)       The Investors shall have delivered to the Company the Original Securities.

         Section 6.       Conditions Precedent to the Investors’ Obligations. The obligation hereunder of the Investors to accept the
Warrants in exchange for the Original Securities is subject to the satisfaction or waiver, at or before the Closing Date, of each of the
conditions set forth below. These conditions are for each Investor’s sole benefit and may be waived by an Investor at any time in its
sole discretion.

                  (a)       The Company shall have duly executed and delivered the Warrants.

                  (b)       The Company shall have delivered to the Investors evidence of the receipt of any necessary stockholder,
securities exchange (including NYSE MKT) or lender consent and approval, together with evidence of the qualification for listing of
any Warrant Shares on the NYSE MKT.

                 (c)      The Company shall have performed, satisfied and complied in all material respects with all covenants,
agreements and conditions required by this Agreement to be performed, satisfied or complied with by the Company at or prior to the
Closing Date.

                    (d)      Each of the representations and warranties of the Company shall be true and correct in all material respects
as of the date when made and as of the Closing Date as though made at that time, except for representations and warranties that speak
as of a particular date, which shall be true and correct in all material respects as of such date.

                  (e)      The Investors shall have received an opinion of counsel to the Company, substantially in the form of
Exhibit B, with such exceptions and limitations as shall be reasonably acceptable to counsel to Investors.


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         Section 7.       Covenants of the Company. The Company covenants and agrees with the Investors as follows:

                    (a)       The Company shall not enter into any agreement in which the terms of such agreement would materially
restrict or impair the right or ability to perform of the Company or any Subsidiary under any Transaction Document.

                   (b)       So long as the Investors beneficially owns any of the Warrants, the Company shall timely file all reports
required to be filed with the Commission pursuant to the Exchange Act, and the Company shall not terminate its status as an issuer
required to file reports under the Exchange Act even if the Exchange Act or the rules and regulations thereunder would permit such
termination.

                   (c)       The Company will provide, at the Company’s expense, such legal opinions in the future as are reasonably
necessary for the issuance and resale of the Common Stock issuable upon exercise of the Warrants pursuant to an effective registration
statement, Rule 144 under the Securities Act or an exemption from registration, to the extent applicable. In the event that Common
Stock is sold in a manner that complies with an exemption from registration, the Company will promptly instruct its counsel (at its
expense) to issue to the transfer agent an opinion permitting removal of the legend (indefinitely, if under Rule 144, such shares of
Common Stock may be sold without regards to volume limitations or the availability of current public information concerning the
Company, or to otherwise permit sale of the shares if pursuant to the other provisions of Rule 144).

                    (d)       The Company covenants and agrees that neither it nor any other person acting on its behalf will provide the
Investors or their agents or counsel with any information that the Company believes constitutes material non-public information, unless
prior thereto the Investors shall have executed a written agreement regarding the confidentiality and use of such information. The
Company understands and confirms that the Investors shall be relying on the foregoing representations in effecting transactions in
securities of the Company. In the event of a breach of the foregoing covenant by the Company, or any of its Subsidiaries, or any of its
or their respective officers, directors, employees and agents, in addition to any other remedy provided herein or in the Transaction
Documents, the Company shall publicly disclose any material, non-public information in a Form 8-K within five (5) Business Days of
the date that it discloses such information to an Investor. In the event that the Company discloses any material, non-public information
to any Investor and fails to publicly file a Form 8-K in accordance with the above, such Investor shall have the right to make a public
disclosure, in the form of a press release, public advertisement or otherwise, of such material, nonpublic information without the prior
approval by the Company, its Subsidiaries, or any of its or their respective officers, directors, employees or agents. The Investors shall
have no liability to the Company, its Subsidiaries, or any of its or their respective officers, directors, employees, stockholders or agents,
for any such disclosure.


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                   (e)        During the term of the Warrants, so long as at least 25% of the Warrants (on an aggregate basis) remains
unexercised, the Company shall not, without the written consent of the Investors: (i) repurchase, redeem or pay dividends on (whether
in cash, in kind, or otherwise), shares of the Common Stock; (ii) effect any distribution with respect to the Common Stock, or (iii) issue
any Common Stock or Common Stock equivalent for a per Common Stock share effective price less than $1.35, other than (1)
issuances of securities upon the exercise or exchange of or conversion of any securities exercisable or exchangeable for or convertible
into shares of Common Stock issued and outstanding on the date hereof, provided that such securities have not been amended since the
date hereof to increase the number of such securities or to decrease the exercise, exchange or conversion price of any such securities;
(2) securities issued pursuant to acquisitions or strategic transactions approved by a majority of the disinterested directors, but not
including, or a transaction the primary purpose of which is to raise capital; or (3) issuances, pursuant to equity compensation plans
approved by the Company's shareholders, of options, restricted stock or other forms of equity compensation to employees, consultants,
officers or directors of the Company, approved by a majority of the non-employee members of the Board of Directors of the Company
or a majority of the members of a committee of nonemployee directors established for such purpose. For purposes of clause (iii) above,
the “per Common Stock share effective price” in the case of any Common Stock equivalent shall be determined by dividing (X) the
total amount received or receivable by the Company as consideration for the issue or sale of such Common Stock equivalents, plus the
minimum aggregate amount of additional consideration, if any, payable to the Company upon the conversion or exercise thereof, by
(Y) the total maximum number of shares of Common Stock issuable upon the conversion or exercise of all such Common Stock
equivalents.

         Section 8.       Miscellaneous.

                  (a)       Each party shall pay the fees and expenses of its advisors, counsel, accountants and other experts, if any,
and all other expenses, incurred by such party incident to the negotiation, preparation, execution, delivery and performance of this
Agreement.

                  (b)        Electronic transmissions or retransmissions of images of any executed original document shall be deemed
to be the same as the delivery of an executed original. At the request of any party hereto, the other parties hereto shall confirm such
electronic transmissions by executing duplicate original documents and delivering the same to the requesting party or parties. This
Agreement may be executed in any number of counterparts and by the parties hereto in separate counterparts, each of which when so
executed shall be deemed to be an original and all of which taken together shall constitute one and the same agreement, it being
understood that all parties need not sign the same counterpart.

                  (c)       This Agreement and the Warrants contain the entire understanding and agreement of the parties with respect
to the matters covered hereby and, except as specifically set forth herein or therein, neither the Company nor the Investors make any
representation, warranty, covenant or undertaking with respect to such matters, and they supersede all prior understandings and
agreements with respect to said subject matter, all of which are merged herein. No provision of this Agreement may be waived or
amended other than by a written instrument signed by the Company and the Investors. Any amendment or waiver effected in
accordance with this Section 7(c) shall be binding upon the Investors (and their permitted assigns) and the Company.


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                   (d)       Any notice, demand, request, waiver or other communication required or permitted to be given hereunder
shall be in writing and shall be effective (a) upon hand delivery by telecopy or facsimile at the address or number designated below (if
delivered on a business day during normal business hours where such notice is to be received), or the first business day following such
delivery (if delivered other than on a business day during normal business hours where such notice is to be received) or (b) on the
second business day following the date of mailing by express courier service, fully prepaid, addressed to such address, or upon actual
receipt of such mailing, whichever shall first occur. The addresses for such communications shall be:

         If to the Company:                           Navidea Biopharmaceuticals, Inc.
                                                      5600 Blazer Parkway, Suite 200
                                                      Dublin, Ohio 43017-1367
                                                      Facsimile No.: (614) 793-7550
                                                      Attention: Ricardo J. Gonzalez, Chief Executive Officer and President

         with copies (which copies                    Dickinson Wright PLLC
         shall not constitute notice                  150 East Gay Street, Suite 2400
         to the Company) to:                          Columbus, Ohio 43215
                                                      Facsimile No.: (248) 443-7274
                                                      Attention: William J. Kelly, Esq.

         If to the Investors:                         c/o Montsant Partners LLC
                                                      250 West 55th Street, 14th Floor
                                                      New York, NY 10019
                                                      Attention: David Steinberg

         with copies (which copies                    Burak Anderson & Melloni, PLC
         shall not constitute notice                  30 Main Street, PO Box 787
         to the Investors) to:                        Burlington, Vermont 05402-0787
                                                      Facsimile No.: (802) 862-8176
                                                      Attention: Shane W. McCormack


                   (e)       The article, section and subsection headings in this Agreement are for convenience only and shall not
constitute a part of this Agreement for any other purpose and shall not be deemed to limit or affect any of the provisions hereof.

                   (f)      This Agreement shall be governed by and construed in accordance with the internal laws of the State of
New York, without giving effect to any of the conflicts of law principles which would result in the application of the substantive law of
another jurisdiction, except to the extent that the General Corporation Law of the State of Delaware shall apply.

                   (g)       This Agreement shall inure to the benefit of and be binding upon the successors and permitted assigns of
the parties hereto. Subject to applicable securities laws and any restrictions contained herein, an Investor may assign any of its rights
under any of the Transaction Documents to any Person, and any holder of a Warrant, may assign, in whole or in part such Warrant to
any Person. The Company may not assign any of its rights, or delegate any of its obligations, under this Agreement without the prior
written consent of the Investors, and any such purported assignment by the Company without the written consent of the Investors shall
be void and of no effect.


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                  (h)        This Agreement is intended for the benefit of the parties hereto and their respective permitted successors
and assigns and is not for the benefit of, nor may any provision hereof be enforced by, any other person.

                   (i)       The provisions of this Agreement are severable and, in the event that any court of competent jurisdiction
shall determine that any one or more of the provisions or part of the provisions contained in this Agreement shall, for any reason, be
held to be invalid, illegal or unenforceable in any respect, such invalidity, illegality or unenforceability shall not affect any other
provision or part of a provision of this Agreement and this Agreement shall be reformed and construed as if such invalid or illegal or
unenforceable provision, or part of such provision, had never been contained herein, so that such provisions would be valid, legal and
enforceable to the maximum extent possible.

                                                        [Signature Page Follows]




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         IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be duly executed by their respective authorized
persons as of the date first indicated above.

                                                               NAVIDEA BIOPHARMACEUTICALS, INC.


                                                               By: /s/ Ricardo J. Gonzalez
                                                                   Name: Ricardo J. Gonzalez
                                                                   Title: President and CEO


                                                               MONTSANT PARTNERS LLC


                                                               By: /s/ David Steinberg
                                                                   Name: David Steinberg
                                                                   Title: Authorized Signatory


                                                               PLATINUM PARTNERS VALUE ARBITRAGE FUND, L.P.


                                                               By: /s/ David Steinberg
                                                                   Name: David Steinberg
                                                                   Title: Authorized Signatory




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                                                        Exhibit A


                  Investor                               Preferred Stock                  Warrant Shares

          Montsant Partners LLC                              2,864                          9,365,280

Platinum Partners Value Arbitrage Fund, L.P.                 1,655                          5,411,850



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                                                       Exhibit B


(A)        Navidea is a corporation validly existing and in good standing under the laws of the State of Delaware and has all
requisite corporate power and authority to execute, deliver and perform its obligations under each Transaction Document to
which it is a party.

(B)       The execution and delivery of the Transaction Documents by Navidea and the performance by Navidea of its
obligations under the Transaction Documents do not violate its Certificate of Incorporation or By-Laws.

(C)       Navidea has duly authorized by all necessary corporate action the execution and delivery by it of each of the
Transaction Documents and the performance by it of its obligations under each of the Transaction Documents. The
Transaction Documents required by the Agreement to be executed and delivered at the Closing have been duly executed and
delivered by Navidea, and such Transaction Documents constitute legal, valid and binding obligations of Navidea, enforceable
against Navidea in accordance with their respective terms.

(D)       The execution and delivery by Navidea of the Transaction Documents and the performance by Navidea of its
obligations under such Transaction Documents do not (a) violate any existing law or regulation of general applicability of the
State of New York, the United States of America or the General Corporation Law of the State of Delaware; or (b) violate any
order, decree or decision of any court or governmental authority to our knowledge binding upon Navidea.

(E)       No consent, approval, authorization or order of, or registration or filing with, any court or governmental authority is
required for the execution, delivery and performance by Navidea of the Transaction Documents.

(F)       The shares of Common Stock to be issued upon exercise of the Warrants are duly authorized, and assuming that
Warrants are exercised immediately following the Closing in accordance with its terms, the shares of Common Stock so
issuable would be validly issued, fully paid, and nonassessable.




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                       Exhibit 2
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8-K 1 v419204_8-k.htm FORM 8-K
                                                        UNITED STATES
                                            SECURITIES AND EXCHANGE COMMISSION
                                                     Washington, D.C. 20549

                                                                 FORM 8-K

                                                       CURRENT REPORT
                               Pursuant to Section 13 or 15(d) of The Securities Exchange Act of 1934


Date of Report (Date of earliest event reported)                August 20, 2015


                                               NAVIDEA BIOPHARMACEUTICALS, INC.
                                             (Exact name of registrant as specified in its charter)

                  Delaware                                        001-35076                                   XX-XXXXXXX
         (State or other jurisdiction                            (Commission                                (IRS Employer
              of incorporation)                                  File Number)                             Identification No.)

                      5600 Blazer Parkway, Suite 200, Dublin, Ohio                                             43017
                         (Address of principal executive offices)                                            (Zip Code)

Registrant's telephone number, including area code                (614) 793-7500


                                        (Former name or former address, if changed since last report.)

Check the appropriate box below if the Form 8-K filing is intended to simultaneously satisfy the filing obligation of the registrant
under any of the following provisions (see General Instruction A.2. below):

¨    Written communications pursuant to Rule 425 under the Securities Act (17 CFR 230.425)
¨    Soliciting material pursuant to Rule 14a-12 under the Exchange Act (17 CFR 240.14a-12)
¨    Pre-commencement communications pursuant to Rule 14d-2(b) under the Exchange Act (17 CFR 240.14d-2(b))
¨    Pre-commencement communications pursuant to Rule 13e-4(c) under the Exchange Act (17 CFR 240.13e-4(c))
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Item 1.01             Entry Into a Material Definitive Agreement.

         On August 20, 2015, Navidea Biopharmaceuticals, Inc. (the “Company”) entered into a Securities Exchange Agreement (the
“Exchange Agreement”) with two investment funds managed by Platinum Management (NY) LLC to exchange the 4,519 shares of
Series B Convertible Preferred Stock (“Preferred Stock”) held by them for twenty year warrants to purchase common stock of the
Company (“Warrants”). The Preferred Stock was convertible into common stock at a conversion rate of 3,270 shares of common stock
per share of Preferred Stock resulting in an aggregate number of shares of common stock into which the Preferred Stock was
convertible of 14,777,130 shares. The exercise price of the Warrants is $0.01 per share, and the total number of shares of common
stock for which the Warrants are exercisable is 14,777,130 shares. The Warrants contain cashless exercise provisions, and the other
economic terms are comparable to those of the Preferred Stock, except that there is no liquidation preference associated with the
Warrants or shares issuable on the exercise thereof. There was no other consideration paid or received for the exchange. Following the
exchange, the Company has no shares of preferred stock outstanding.

          The exchange transaction was entered into in connection with the filing of an application to list the Company’s common stock
on the Tel Aviv Stock Exchange (“TASE”) (see Item 8.01 below), in order to comply with a listing requirement of the TASE requiring
that listed companies have only one class of equity securities issued and outstanding.

          The foregoing description of the terms of the Exchange Agreement and Warrants, is qualified in its entirety by reference to the
text of the Exchange Agreement and form of Warrant, copies of which are attached hereto as exhibits 10.1 and 10.2, respectively, and
incorporated herein by reference.

Item 8.01             Other Events.

         On August 24, 2015, the Company issued a press release entitled “Navidea Biopharmaceuticals to Register Shares for Dual
Listing on Tel-Aviv Stock Exchange.” A copy of the Company’s August 24, 2015, press release is filed as Exhibit 99.1 to this Current
Report on Form 8-K and is incorporated herein by reference.

         The information contained in Item 8.01 of this Current Report on Form 8-K, including Exhibit 99.1 attached hereto, shall not
be treated as “filed” for purposes of the Securities Exchange Act of 1934, as amended.

Item 9.01             Financial Statements and Exhibits.

(d)       Exhibits.

Exhibit
Number                          Exhibit Description

10.1              Securities Exchange Agreement, dated as of August 20, 2015, among the Company, Montsant Partners LLC and
                  Platinum Partners Value Arbitrage Fund, L.P.

10.2              Form of Warrant issued to Montsant Partners LLC and Platinum Partners Value Arbitrage Fund, L.P.

99.1              Press Release, dated August 24, 2015, entitled “Navidea Biopharmaceuticals to Register Shares for Dual Listing on
                  Tel-Aviv Stock Exchange.”

       Statements contained or incorporated by reference in this Current Report on Form 8-K which relate to other than strictly
historical facts, such as statements about the Company’s plans and strategies, expectations for future financial performance, new and
existing products and technologies, and markets for the Company’s products, are forward-looking statements. The words “believe,”
“expect,” “anticipate,” “estimate,” “project,” and similar expressions identify forward-looking statements that speak only as of the date
hereof. Investors are cautioned that such statements involve risks and uncertainties that could cause actual results to differ materially
from historical or anticipated results due to many factors including, but not limited to, the Company’s continuing operating losses,
uncertainty of market acceptance, reliance on third party manufacturers, accumulated deficit, future capital needs, uncertainty of capital
funding, dependence on limited product line and distribution channels, competition, limited marketing and manufacturing experience,
and other risks detailed in the Company’s most recent Annual Report on Form 10-K and other filings with the United States Securities
and Exchange Commission. The Company undertakes no obligation to publicly update or revise any forward-looking statements.
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                                                            SIGNATURES

          Pursuant to the requirements of the Securities Exchange Act of 1934, the registrant has duly caused this report to be signed on
its behalf by the undersigned hereunto duly authorized.

                                                                     Navidea Biopharmaceuticals, Inc.


Date: August 26, 2015                                               By: /s/ Brent L. Larson
                                                                        Brent L. Larson, Executive Vice President and
                                                                            Chief Financial Officer
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                       Exhibit 3
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THIS WARRANT AND THE SHARES OF COMMON STOCK ISSUABLE UPON EXERCISE HEREOF HAVE
NOT BEEN REGISTERED UNDER THE SECURITIES ACT OF 1933, AS AMENDED (THE "SECURITIES
ACT") OR ANY STATE SECURITIES LAWS AND MAY NOT BE SOLD, TRANSFERRED OR OTHERWISE
DISPOSED OF UNLESS REGISTERED UNDER THE SECURITIES ACT AND UNDER APPLICABLE
STATE SECURITIES LAWS OR NA VIDEA BIOPHARMACEUTICALS, INC. SHALL HA VE RECEIVED AN
OPINION OF COUNSEL THAT REGISTRATION OF SUCH SECURITIES UNDER THE SECURITIES ACT
AND UNDER THE PROVISIONS OF APPLICABLE STATE SECURITIES LAWS IS NOT REQUIRED.

                                              WARRANT TO PURCHASE

                                            SHARES OF COMMON STOCK

                                                            OF

                                    NA VIDEA BIO PHARMACEUTICALS, INC.

                                                 Expires August 20, 2035

No.: WLL15-002                                                                               Number of Shares: 5,411,850
Date of Issuance: August 20, 2015


            FOR VALUE RECEIVED, subject to the provisions hereinafter set forth, the undersigned, Navidea
Biopharmaceuticals, Inc., a Delaware corporation (together with its successors and assigns, the "Issuer"), hereby certifies
that Platinum Partners Value Arbitrage Fund, L.P. or its registered assigns is entitled to subscribe for and purchase,
during the period specified in this Warrant, up to five million four hundred eleven thousand eight hundred fifty
(5,411,850) shares (subject to adjustment as hereinafter provided) of the duly authorized, validly issued, fully paid and
non-assessable Common Stock of the Issuer, at an exercise price per share equal to the Warrant Price then in effect,
subject, however, to the provisions and upon the terms and conditions hereinafter set forth. Capitalized terms used in this
Warrant and not otherwise defined herein shall have the respective meanings specified in Section 8 hereof.

         1. Term. The right to subscribe for and purchase shares of Warrant Stock represented hereby shall commence
on the date hereof and shall expire at 5:00 p.m., Eastern Time, on August 20, 2035 (such period being the "Term").

           2.   Method of Exercise Payment; Issuance of New Warrant; Transfer and Exchange.

                (a) Time of Exercise. The purchase rights represented by this Warrant may be exercised in whole or in
 part at any time and from time to time during the Term.

                (b) Method of Exercise. The Holder hereof may exercise this Warrant, in whole or in part, by the
 surrender of this Warrant (with the exercise form attached hereto duly executed) at the principal office of the Issuer, and
 by the payment to the Issuer of an amount of consideration therefor equal to the Warrant Price in effect on the date of
 such exercise multiplied by the number of shares of Warrant Stock with respect to which this Warrant is then being
 exercised, payable at such Holder's election (i) by certified or official bank check or by wire transfer to an account
 designated by the Issuer, (ii) by "cashless exercise" in accordance with the provisions of subsection (c) of this Section 2,
 or (iii) by a combination of the foregoing methods of payment selected by the Holder of this Warrant.

                (c) Cashless Exercise. Notwithstanding any provisions herein to the contrary, ifthe Per Share Market
 Value of one share of Common Stock is greater than the Warrant Price (at the date of calculation as set forth below) in
 lieu of exercising this Warrant by payment of cash, the Holder may exercise this Warrant by a cashless exercise and
 shall receive the number of shares of Common Stock equal to an amount (as determined below) by surrender of this
 Warrant at the principal office of the Issuer together with the properly endorsed Notice of Exercise in which event the
 Issuer shall issue to the Holder a number of shares of Common Stock computed using the following formula:




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          X=Y-lAl(Yl
                     B

Where X =         the number of shares of Common Stock to be issued to the Holder.

          Y=      the number of shares of Common Stock purchasable upon exercise of all of the Warrant or, if only a
                  portion of the Warrant is being exercised, the portion of the Warrant being exercised.

          A=      the Warrant Price.

          B=      the Per Share Market Value of one share of Common Stock.

                  (d) Deemed Exercise on Certain Events.

                     (i) This Warrant shall be deemed to have been exercised in full upon the earlier to occur of either of
           the following (each, an "Automatic Exercise Event"): (i) the closing of a firm commitment underwritten public
           offering of Common Stock of the Issuer pursuant to an effective registration statement under Section 5 of the
           Securities Act in which the gross cash proceeds to the Issuer (before underwriting discounts, commissions and
           fees) from such public offering are at least $10,000,000, or (ii) one hundred eighty (180) days following the first
           Trading Date upon which the Trigger Price per share of the Common Stock equals or exceeds $7.00 per share,
           but excluding from such 180 day period any Trading Day on which the Trigger Price is less than $5 .00 per
           share. The number of shares of Common Stock which the Holder shall receive upon an Automatic Exercise
           Event shall be determined by applying the cashless exercise formula contained in Section 2(c), assuming the
           exercise in full of this Warrant.

                     (ii) Upon the occurrence of an Automatic Exercise Event, the Warrant shall be deemed to have been
           exercised automatically by the holder without any further action by the holder and whether or not the Warrant is
           surrendered to the Company; provided, however, that the Company shall not be obligated to issue certificates
           evidencing the Warrant Stock issuable upon such exercise unless the Warrant are either delivered to the
           Company as provided in Section 2(b), or the holder certifies to the Company that the Warrant has been lost,
           stolen or destroyed and executes an agreement satisfactory to the Company to indemnify the Company from any
           loss incurred by it in connection with the Warrant. Upon surrender by the holder of the Warrant to the Company
           or the transfer agent, there shall be issued and delivered to such holder promptly in its name as shown on such
           surrendered Warrant, a certificate or certificates for the number of shares of Warrant Stock into which the
           Warrant surrendered were exercised on the date on which such automatic exercise occurred, and the Company
           shall promptly pay in cash (at the fair market value per share of Common Stock determined by the Board of
           Directors as of the date of exercise) the value of any fractional share of Warrant Stock otherwise issuable to the
           holder the Warrant being exercised. Until surrendered as provided above, the Warrant shall be deemed for all
           corporate purposes to represent the number of shares of Common Stock resulting from such automatic exercise.

                     (iii) Notwithstanding the provisions of Section 2(d)(i) if, upon the occurrence of an Automatic
           Exercise Event, the Issuer cannot issue shares of Common Stock to fully effect the deemed exercise for any
           reason, including, without limitation, because the Issuer (i) does not have a sufficient number of shares of
           Common Stock authorized and available, (ii) is otherwise prohibited by applicable law or by the rules or
           regulations of any stock exchange, interdealer quotation system or other self-regulatory organization with
           jurisdiction over the Issuer or its securities from issuing all of the Common Stock which is to be issued to a
           holder of this Warrant, or (iii) the exercise would be prohibited by the provisions of Section 7 hereof and such
           prohibition has not been waived by the Holder, then the Issuer shall issue as many shares of Common Stock as it
           is able to issue, and with respect to the unexercised Warrant (the "Unexercised Warrant Stock"), deliver to the
           Holder an amended and restated Warrant in substantially the form hereof. In the event that the Issuer is
           thereafter able to effect the exercise of the Unexercised Warrant Stock, it shall so notify the holder in writing,
           and such notice shall be deemed to be an Automatic Conversion Event for purposes of this Section 2(d).

              (e) Issuance of Stock Certificates. In the event of any exercise or deemed exercise of the rights
 represented by this Warrant in accordance with and subject to the terms and conditions hereof, (i) certificates for the
 shares of Warrant Stock so purchased shall be dated the date of such exercise and delivered to the Holder hereof within
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 a reasonable time, not exceeding three (3) Trading Days after such exercise (the "Delivery Date") or, at the request of
 the Holder, issued and delivered to the Depository Trust Company ("OTC") account on the Holder's behalf via the
 Deposit Withdrawal Agent Commission System ("OW AC") within a reasonable time, not exceeding three (3) Trading
 Days after such exercise, and the Holder hereof shall be deemed for all purposes to be the Holder of the shares of
 Warrant Stock so purchased as of the date of such exercise, and (ii) unless this Warrant has expired, a new Warrant
 representing the number of shares of Warrant Stock, if any, with respect to which this Warrant shall not then have been
 exercised (less any amount thereof which shall have been canceled in payment or partial payment of the Warrant Price
 as hereinabove provided) shall also be issued to the Holder hereof at the Issuer's expense within such time.
 Notwithstanding the foregoing to the contrary, the Issuer or its transfer agent shall only be obligated to issue and deliver
 the shares to the OTC on the Holder's behalf via OW AC (or certificates free of restrictive legends) if such exercise is in
 connection with a sale by the Holder and the Holder has complied with the applicable prospectus delivery requirements
 or an exemption from such registration requirements (each as evidenced by documentation furnished to and reasonably
 satisfactory to the Issuer).

                (f) Transferability of Warrant. Subject to Section 2(h), this Warrant may be transferred by a Holder
 without the consent of the Issuer. If transferred pursuant to this paragraph, this Warrant may be transferred on the books
 of the Issuer by the Holder hereofin person or by the Holder's duly authorized attorney, upon surrender of this Warrant
 at the principal office of the Issuer, properly endorsed (by the Holder executing an assignment in the form attached
 hereto) and upon payment of any necessary transfer tax or other governmental charge imposed upon such transfer. This
 Warrant is exchangeable at the principal office of the Issuer for Warrants forthe purchase of the same aggregate number
 of shares of Warrant Stock, each new Warrant to represent the right to purchase such number of shares of Warrant Stock
 as the Holder hereof shall designate at the time of such exchange. All Warrants issued on transfers or exchanges shall
 be dated the Original Issue Date and shall be identical with this Warrant except as to the number of shares of Warrant
 Stock issuable pursuant hereto.

               (g) Continuing Rights of Holder. The Issuer will, at the time of or at any time after each exercise of this
 Warrant, upon the request of the Holder hereof, acknowledge in writing the extent, ifany, ofits continuing obligation to
 afford to such Holder all rights to which such Holder shall continue to be entitled after such exercise in accordance with
 the terms of this Warrant, provided, however, that if any such Holder shall fail to make any such request, the failure
 shall not affect the continuing obligation of the Issuer to afford such rights to such Holder.

                  (h) Compliance with Securities Laws.

                     (i) The Holder of this Warrant, by acceptance hereof, acknowledges that this Warrant and the shares
           of Warrant Stock to be issued upon exercise hereofare being acquired solely for the Holder's own account and
           not as a nominee for any other party, and for investment, and that the Holder will not offer, sell or otherwise
           dispose of this Warrant or any shares of Warrant Stock to be issued upon exercise hereof except pursuant to an
           effective registration statement, or an exemption from registration, under the Securities Act and any applicable
           state securities laws.

                    (ii) Except as provided in paragraph (iii) below, this Warrant and all certificates representing shares of
           Warrant Stock issued upon exercise hereof shall be stamped or imprinted with a legend in substantially the
           following form:

           THIS WARRANT AND THE SHARES OF COMMON STOCK ISSUABLE UPON EXERCISE HEREOF
           HAVE NOT BEEN REGISTERED UNDER THE SECURITIES ACT OF 1933, AS AMENDED (THE
           "SECURITIES ACT") OR ANY STATE SECURITIES LAWS AND MAY NOT BE SOLD, TRANSFERRED
           OR OTHERWISE DISPOSED OF UNLESS REGISTERED UNDER THE SECURITIES ACT AND UNDER
           APPLICABLE STATE SECURITIES LAWS OR NAVIDEA BIOPHARMACEUTICALS, INC. SHALL
           HAVE RECEIVED AN OPINION OF COUNSEL THAT REGISTRATION OF SUCH SECURITIES UNDER
           THE SECURITIES ACT AND UNDER THE PROVISIONS OF APPLICABLE STA TE SECURITIES LAWS
           IS NOT REQUIRED.

                     (iii) The restrictions imposed by this subsection (h) upon the transfer of this Warrant or the shares of
           Warrant Stock to be purchased upon exercise hereof shall terminate (A) when such securities shall have been
           resold pursuant to an effective registration statement under the Securities Act, (B) upon the Issuer's receipt ofan
           opinion of counsel, in form and substance reasonably satisfactory to the Issuer, addressed to the Issuer to the
           effect that such restrictions are no longer required to ensure compliance with the Securities Act and state

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           securities laws or (C) upon the Issuer's receipt of other evidence reasonably satisfactory to the Issuer that such
           registration and qualification under the Securities Act and state securities laws are not required. Whenever such
           restrictions shall cease and terminate as to any such securities, the Holder thereof shall be entitled to receive
           from the Issuer (or its transfer agent and registrar), without expense (other than applicable transfer taxes, if any),
           new Warrants (or, in the case of shares of Warrant Stock, new stock certificates) oflike tenor not bearing the
           applicable legend required by paragraph (ii) above relating to the Securities Act and state securities laws.

               (i) Buy In. In addition to any other rights available to the Holder, ifthe Issuer fails to cause its transfer
agent to transmit to the Holder a certificate or certificates representing the Warrant Stock pursuant to an exercise or
deemed exercise on or before the Delivery Date, and if after such date the Holder is required by its broker to purchase (in
an open market transaction or otherwise) shares of Common Stock to deliver in satisfaction of a sale by the Holder of the
Warrant Stock which the Holder anticipated receiving upon such exercise (a "Buy-In"), then the Issuer shall (1) pay in
cash to the Holder the amount by which (x) the Holder's total purchase price (including brokerage commissions, if any)
for the shares of Common Stock so purchased exceeds (y) the amount obtained by multiplying (A) the number of shares
of Warrant Stock that the Issuer was required to deliver to the Holder in connection with the exercise at issue times, (B)
the price at which the sell order giving rise to such purchase obligation was executed, and (2) at the option of the Holder,
either reinstate the portion of the Warrant and equivalent number of shares of Warrant Stock for which such exercise was
not honored or deliver to the Holder the number of shares of Common Stock that would have been issued had the Issuer
timely complied with its exercise and delivery obligations hereunder. For example, ifthe Holder purchases Common
Stock having a total purchase price of $11,000 to cover a Buy-In with respect to an attempted exercise of shares of
Common Stock with an aggregate sale price giving rise to such purchase obligation of $10,000, under clause (1) of the
immediately preceding sentence the Issuer shall be required to pay the Holder $1,000. The Holder shall provide the
Issuer written notice indicating the amounts payable to the Holder in respect of the Buy-In, together with applicable
confirmations and other evidence reasonably requested by the Issuer. Nothing herein shall limit a Holder's right to
pursue any other remedies available to it hereunder, at law or in equity including, without limitation, a decree of specific
performance and/or injunctive relief with respect to the Issuer's failure to timely deliver certificates representing shares of
Common Stock upon exercise of this Warrant as required pursuant to the terms hereof.

           3.   Stock Fully Paid; Reservation and Listing of Shares; Covenants.

                (a) Stock Fully Paid. The Issuer represents, warrants, covenants and agrees that all shares of Warrant
 Stock which may be issued upon the exercise of this Warrant or otherwise hereunder will, upon issuance, be duly
 authorized, validly issued, fully paid and non-assessable and free from all taxes, liens and charges created by or through
 Issuer. The Issuer further covenants and agrees that during the period within which this Warrant may be exercised, the
 Issuer will at all times have authorized and reserved for the purpose of the issue upon exercise of this Warrant a number
 of shares of Common Stock equal to the aggregate number of shares of Common Stock exercisable hereunder to provide
 for the exercise of this Warrant (without regard to limitations on exercisability set forth in Section 7).

                (b) Reservation. If any shares of Common Stock required to be reserved for issuance upon exercise of this
 Warrant or as otherwise provided hereunder require registration or qualification with any governmental authority under
 any federal or state law before such shares may be so issued, the Issuer will in good faith use its best efforts as
 expeditiously as possible at its expense to cause such shares to be duly registered or qualified. If the Issuer shall list any
 shares of Common Stock on any securities exchange or market it will, at its expense, list thereon, maintain and increase
 when necessary such listing, of, all shares of Warrant Stock from time to time issued upon exercise of this Warrant or as
 otherwise provided hereunder, and, to the extent permissible under the applicable securities exchange's rules, all
 unissued shares of Warrant Stock which are at any time issuable hereunder, so long as any shares of Common Stock
 shall be so listed. The Issuer will also so list on each securities exchange or market, and will maintain such listing of,
 any other securities which the Holder of this Warrant shall be entitled to receive upon the exercise of this Warrant ifat
 the time any securities of the same class shall be listed on such securities exchange or market by the Issuer.

                (c) Covenants. Until the sooner to occur of the full exercise of this Warrant or the end of the Term, except
 and to the extent as waived or consented to by the Holder, the Issuer shall not by any action, including, without
 limitation, amending its Certificate of Incorporation or By-Laws or through any reorganization, transfer of assets,
 consolidation, merger, dissolution, issue or sale of securities or any other voluntary action, avoid or seek to avoid the
 observance or performance of any of the terms of this Warrant, but will at all times in good faith assist in the carrying
 out of all such terms and in the taking of all such actions as may be necessary or appropriate to protect the rights of
 Holder as set forth in this Warrant against impairment or dilution. Without limiting the generality of the foregoing, the
 Issuer will (a) not increase the par value of any Warrant Stock above the amount payable therefor upon such exercise

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 immediately prior to such increase in par value, (b) take all such action as may be necessary or appropriate in order that
 the Issuer may validly and legally issue fully paid and nonassessable Warrant Stock upon the exercise of this Warrant,
 and (c) use commercially reasonable effo1is to obtain all such authorizations, exemptions or consents from any public
 regulatory body having jurisdiction thereofas may be necessary to enable the Issuer to perform its obligations under this
 Warrant.

               (d) Loss, Theft, Destruction of Warrants. Upon receipt of evidence satisfactory to the Issuer of the
 ownership of and the loss, theft, destruction or mutilation of any Warrant and, in the case of any such loss, theft or
 destruction, upon receipt of indemnity or security satisfactory to the Issuer or, in the case of any such mutilation, upon
 surrender and cancellation of such Warrant, the Issuer will make and deliver, in lieu of such lost, stolen, destroyed or
 mutilated Warrant, a new Warrant of like tenor and representing the right to purchase the same number of shares of
 Common Stock.

          4. Adjustment of Warrant Price and Warrant Share Number. The number of shares of Common Stock for
which this Warrant is exercisable, and the price at which such shares may be purchased upon exercise of this Warrant,
shall be subject to adjustment from time to time as set forth in this Section 4. The Issuer shall give the Holder notice of
any event described below which requires an adjustment pursuant to this Section 4 in accordance with Section 5.
Notwithstanding any adjustment hereunder, at no time shall the Warrant Price be greater than $0.01 per share, except ifit
is adjusted pursuant to Section 4(b )(iii).

                  (a) Recapitalization, Reorganization, Reclassification, Consolidation, Merger or Sale.

                    (i) In case the Issuer after the Original Issue Date shall do any of the following (each, a "Triggering
           Event"): (a) consolidate with or merge into any other Person and the Issuer shall not be the continuing or
           surviving corporation of such consolidation or merger, or (b) permit any other Person to consolidate with or
           merge into the Issuer and the Issuer shall be the continuing or surviving Person but, in connection with such
           consolidation or merger, any Capital Stock of the Issuer shall be changed into or exchanged for Securities of
           any other Person or cash or any other property, or (c) transfer all or substantially all of its properties or assets to
           any other Person, or (d) effect a capital reorganization or reclassification of its Capital Stock, then, and in the
           case of each such Triggering Event, proper provision shall be made so that, upon the basis and the terms and in
           the manner provided in this Warrant, the Holder of this Warrant shall be entitled upon the exercise hereof at any
           time after the consummation of such Triggering Event, to the extent this Warrant is not exercised prior to such
           Triggering Event, to receive at the Warrant Price in effect at the time immediately prior to the consummation of
           such Triggering Event in lieu of the Common Stock issuable upon such exercise of this Warrant prior to such
           Triggering Event, the Securities, cash and property to which such Holder would have been entitled upon the
           consummation of such Triggering Event if such Holder had exercised the rights represented by this Warrant
           (without giving effect to the limitations on exercise set forth in Section 7 hereof) immediately prior thereto
           (including the right to elect the type of consideration, if applicable), subject to adjustments (subsequent to such
           corporate action) as nearly equivalent as possible to the adjustments provided for elsewhere in this Section 4.

                      (ii) Notwithstanding anything contained in this Warrant to the contrary and so long as the surviving
           entity is a Qualifying Entity, the Issuer will not be deemed to have effected any Triggering Event if, prior to the
           consummation thereof, each Person (other than the Issuer) which may be required to deliver any Securities, cash
           or property upon the exercise of this Warrant as provided herein shall assume, by written instrument delivered
           to the Holder of this Warrant and reasonably satisfactory to the Holder, (A) the obligations of the Issuer under
           this Warrant (and if the Issuer shall survive the consummation of such Triggering Event, such assumption shall
           be in addition to, and shall not release the Issuer from, any continuing obligations of the Issuer under this
           Warrant) and (B) the obligation to deliver to such Holder such shares of Securities, cash or property as, in
           accordance with the foregoing provisions of this subsection (a), such Holder shall be entitled to receive, and
           such Person shall have similarly delivered to such Holder, an opinion of counsel for such Person, which shall be
           reasonably satisfactory to the Holder, stating that this Warrant shall thereafter continue in full force and effect
           and the terms hereof (including, without limitation, all of the provisions of this subsection (a)) shall be
           applicable to the Securities, cash or property which such Person may be required to deliver upon any exercise of
           this Warrant or the exercise of any rights pursuant hereto.

                  (b) Stock Dividends, Subdivisions and Combinations. If at any time the Issuer shall:

                    (i) set a record date or take a record of the holders of its Common Stock for the purpose of entitling
           them to receive a dividend payable in, or other distribution of, shares of Common Stock,
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                       (ii) subdivide its outstanding shares of Common Stock into a larger number of shares of Common
           Stock, or

                       (iii) combine its outstanding shares of Common Stock into a smaller number of shares of Common
           Stock,

 then ( 1) the number of shares of Common Stock for which this Warrant is exercisable immediately after the occurrence
 of any such event shall be adjusted to equal the number of shares of Common Stock which a record holder of the same
 number of shares of Common Stock for which this Warrant is exercisable immediately prior to the occurrence of such
 event (without giving effect to the limitations on exercise set forth in Section 7 hereof) would own or be entitled to
 receive after the happening of such event, and (2) the Warrant Price then in effect shall be adjusted to equal (A) the
 Warrant Price then in effect multiplied by the number of shares of Common Stock for which this Warrant is exercisable
 immediately prior to the adjustment (without giving effect to the limitations on exercise set forth in Section 7 hereof)
 divided by (B) the number of shares of Common Stock for which this Warrant is exercisable immediately after such
 adjustment (without giving effect to the limitations on exercise set forth in Section 7 hereof).

                (c) Certain Other Distributions. If at any time the Issuer shall set a record date or take a record of the
 holders of its Common Stock for the purpose of entitling them to receive any dividend or other distribution of:

                   (i) cash (other than a cash dividend payable out of earnings or earned surplus legally available for the
           payment of dividends under the laws of the jurisdiction of incorporation of the Issuer),

                    (ii) any evidences of its indebtedness, any shares of stock of any class or any other securities or
           property of any nature whatsoever, or

                    (iii) any warrants or other rights to subscribe for or purchase any evidences of its indebtedness, any
           shares of stock of any class or any other securities or property of any nature whatsoever,

 then (1) the number of shares of Common Stock for which this Warrant is exercisable shall be adjusted to equal the
 product of the number of shares of Common Stock for which this Warrant is exercisable immediately prior to such
 adjustment (without giving effect to the limitations on exercise set forth in Section 7 hereof) multiplied by a fraction (A)
 the numerator of which shall be the Per Share Market Value of Common Stock at the date of taking such record and (B)
 the denominator of which shall be such Per Share Market Value minus the amount allocable to one share of Common
 Stock of any such cash so distributable and of the fair value (as determined in good faith by the Board of Directors of
 the Issuer and supported by an opinion from an investment banking firm reasonably acceptable to the Holder) of any and
 all such evidences of indebtedness, shares of stock, other securities or property or warrants or other subscription or
 purchase rights so distributable, and (2) the Warrant Price then in effect shall be adjusted to equal (A) the Warrant Price
 then in effect multiplied by the number of shares of Common Stock for which this Warrant is exercisable immediately
 prior to the adjustment (without giving effect to the limitations on exercise set forth in Section 7 hereof) divided by (B)
 the number of shares of Common Stock for which this Warrant is exercisable immediately after such adjustment
 (without giving effect to the limitations on exercise set forth in Section 7 hereof). A reclassification of the Common
 Stock (other than a change in par value, or from par value to no par value or from no par value to par value) into shares
 of Common Stock and shares of any other class of stock shall be deemed a distribution by the Issuer to the holders of its
 Common Stock of such shares of such other class of stock within the meaning of this Section 4( c) and, ifthe outstanding
 shares of Common Stock shall be changed into a larger or smaller number of shares of Common Stock as a part of such
 reclassification, such change shall be deemed a subdivision or combination, as the case may be, of the outstanding
 shares of Common Stock within the meaning of Section 4(b ).
                  (d) [reserved]
                  (e) [reserved]
                  (t) [reserved]
                  (g) [reserved]
                  (h) [reserved]
                (i) Other Provisions Applicable to Adjustments under this Section. The following provisions shall be
 applicable to the making of adjustments of the number of shares of Common Stock for which this Warrant is exercisable
 and the Warrant Price then in effect provided for in this Section 4:
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                       (i) [Reserved]

                       (ii) [Reserved]

                 (iii) Fractional Interests. In computing adjustments under this Section 4, fractional interests in
           Common Stock shall be taken into account to the nearest one one-hundredth ( 1/100 th) of a share.

                    (iv) When Adjustment Not Required. If the Issuer shall take a record of the holders of its Common
           Stock for the purpose of entitling them to receive a dividend or distribution or subscription or purchase rights
           and shall, thereafter and before the distribution to stockholders thereof, legally abandon its plan to pay or
           deliver such dividend, distribution, subscription or purchase rights, then thereafter no adjustment shall be
           required by reason of the taking of such record and any such adjustment previously made in respect thereof shall
           be rescinded and annulled.

              U) Form of Warrant after Adjustments. The form of this Warrant need not be changed because of any
 adjustments in the Warrant Price or the number and kind of securities purchasable upon exercise of this Warrant.

                (k) Escrow of Property. If after any property becomes distributable pursuant to this Section 4 by reason of
 the taking of any record of the holders of Common Stock, but prior to the occurrence of the event for which such record
 is taken, and the Holder exercises this Warrant, such property shall be held in escrow for the Holder by the Issuer to be
 distributed to the Holder upon and to the extent that the event actually takes place, upon payment of the then current
 Warrant Price. Notwithstanding any other provision to the contrary herein, ifthe event for which such record was taken
 fails to occur or is rescinded, then such escrowed property shall be returned to the Issuer.

          5. Notice of Adjustments. Whenever the Warrant Price or Warrant Share Number shall be adjusted pursuant to
Section 4 hereof(for purposes of this Section 5, each an "adjustment"), the Issuer shall cause its ChiefFinancial Officer
to prepare and execute a certificate setting forth, in reasonable detail, the event requiring the adjustment, the amount of
the adjustment, the method by which such adjustment was calculated (including a description of the basis on which the
Board made any determination hereunder), and the Warrant Price and Warrant Share Number after giving effect to such
adjustment, and shall cause copies of such ce1tificate to be delivered to the Holder of this Warrant promptly after each
adjustment. Any dispute between the Issuer and the Holder of this Warrant with respect to the matters set forth in such
certificate may at the option of the Holder of this Warrant be submitted to one of the national accounting firms currently
known as the "big four" selected by the Holder, provided, however, that the Issuer shall have ten (10) days after receipt
of notice from such Holder of its selection of such firm to object thereto, in which case such Holder shall select another
such firm and the Issuer shall have no such right of objection. The firm selected by the Holder of this Warrant as
provided in the preceding sentence shall be instructed to deliver a written opinion as to such matters to the Issuer and
such Holder within thirty (30) days after submission to it of such dispute. Such opinion shall be final and binding on the
parties hereto.

         6. Fractional Shares. No fractional shares of Warrant Stock will be issued in connection with any exercise
hereof, but in lieu of such fractional shares, the Issuer shall at its option either (a) make a cash payment therefor equal in
amount to the product of the applicable fraction multiplied by the Per Share Market Value then in effect or (b) issue one
whole share in lieu of such fractional share.


           7.    Certain Exercise Restrictions.

               (a) Notwithstanding anything to the contrary set forth in this Warrant, at no time may a holder of this
 Warrant exercise this Warrant if the number of shares of Common Stock to be issued pursuant to such exercise would
 exceed, when aggregated with all other shares of Common Stock owned by such holder at such time, the number of
 shares of Common Stock which would result in such holder beneficially owning (as determined in accordance with
 Section 13(d) of the Securities Exchange Act of 1934, as amended, and the rules thereunder) in excess of 4.99% ofall of
 the Common Stock outstanding at such time; provided, however, that upon a holder of this Warrant providing the Issuer
 with sixty-one (61) days notice (pursuant to Section 13 hereof) (the "Waiver Notice") that such holder would like to
 waive this Section 7(a) with regard to any or all shares of Common Stock issuable upon exercise of this Warrant, this
 Section 7(a) will be ofno force or effect with regard to all or a portion of the Warrant referenced in the Waiver Notice;
 provided, further, that this Section 7(a) shall be of no further force or effect during the sixty-one (61) days immediately
 preceding the expiration of the term of this Warrant.
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               (b) Notwithstanding anything to the contrary set forth in this Warrant, at no time may a holder of this
 Warrant exercise this Warrant if the number of shares of Common Stock to be issued pursuant to such exercise would
 exceed, when aggregated with all other shares of Common Stock owned by such holder at such time, the number of
 shares of Common Stock which would result in such holder beneficially owning (as determined in accordance with
 Section 13(d) of the Securities Exchange Act of 1934, as amended, and the rules thereunder) in excess of9.99% of all of
 the Common Stock outstanding at such time; provided, however, that upon a holder of this Warrant providing the Issuer
 with sixty-one (61) days notice (pursuant to Section 13 hereof) (the "Waiver Notice") that such holder would like to
 waive this Section 7 with regard to any or all shares of Common Stock issuable upon exercise of this Warrant, this
 Section 7 will be of no force or effect with regard to all or a portion of the Warrant referenced in the Waiver Notice;
 provided, further, that this Section 7(b) shall be of no further force or effect during the sixty-one (61) days immediately
 preceding the expiration of the term of this Warrant.

           8.    Definitions. For the purposes of this Warrant, the following terms have the following meanings:

                 "Board" shall mean the Board of Directors of the Issuer.

               "Capital Stock" means and includes (i) any and all shares, interests, participations or other equivalents of or
interests in (however designated) corporate stock, including, without limitation, shares of preferred or preference stock,
(ii) all partnership interests (whether general or limited) in any Person which is a partnership, (iii) all membership
interests or limited liability company interests in any limited liability company, and (iv) all equity or ownership interests
in any Person of any other type.

              "Certificate of Incorporation" means the Certificate of Incorporation of the Issuer as in effect on the
Original Issue Date, and as hereafter from time to time amended, modified, supplemented or restated in accordance with
the terms hereof and thereof and pursuant to applicable law.

                "Closing Price" shall mean (i) the last trading price per share of the Common Stock on such date on the
NYSE MKT or other registered national stock exchange on which the Common Stock is then listed, or ifthere is no such
price on such date, then the last trading price on such exchange or quotation system on the date nearest preceding such
date, or (ii) ifthe price of the Common Stock is not then reported on a national securities exchange, the last trading price
per share of the Common Stock as reported by the OTC Bulletin Board, or (iii) ifthe Common Stock is not listed on a
national securities exchange or quoted on the OTC Bulletin Board, then the average of the "Pink Sheet" quotes for the
relevant date, as reported by the National Quotation Bureau, Inc., or (iv) if the Common Stock is not then publicly traded
the fair market value of a share of Common Stock as mutually determined by the Issuer and the Majority Holders.

             "Common Stock" means the Common Stock, par value $.001 per share, of the Issuer and any other Capital
Stock into which such stock may hereafter be changed.

              "Common Stock Equivalent" means any Convertible Security or warrant, option or other right to subscribe
for or purchase any Additional Shares of Common Stock or any Convertible Security.

             "Exchange Agreement" means the Securities Exchange Agreement dated as of_, 2015 between the Issuer
and the Holder.

               "Governmental Authority" means any governmental, regulatory or self-regulatory entity, department, body,
official, authority, commission, board, agency or instrumentality, whether federal, state or local, and whether domestic or
foreign.

             "Holders" mean the Persons who shall from time to time own any Warrant. The term "Holder" means one
of the Holders.

               "Independent Appraiser" means a nationally recognized or major regional investment banking firm or firm
of independent certified public accountants ofrecognized standing (which may be the firm that regularly examines the
financial statements of the Issuer) that is regularly engaged in the business of appraising the Capital Stock or assets of
corporations or other entities as going concerns, and which is not affiliated with either the Issuer or the Holder of any
Warrant.

                "Issuer" means Navidea Biopharmaceuticals, Inc., a Delaware corporation, and its successors.

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              "Majority Holders" means at any time the Holders of Warrants, substantially in the form of this Warrant,
exercisable for a majority of the shares of Warrant Stock issuable under the Warrants at the time outstanding.

                "Original Issue Date" means the date hereof.

                "OTC Bulletin Board" means the over-the-counter electronic bulletin board.

              "Person" means an individual, corporation, limited liability company, partnership, joint stock company,
trust, unincorporated organization, joint venture, Governmental Authority or other entity of whatever nature.

               "Per Share Market Value" means on any particular date (a) the last trading price on any national securities
exchange on which the Common Stock is listed, or, ifthere is no such price, the closing bid price for a share of Common
Stock in the over-the-counter market, as reported by the OTC Bulletin Board or in the National Quotation Bureau
Incorporated or similar organization or agency succeeding to its functions ofreporting prices) at the close of business on
such date, or (b) ifthe Common Stock is not then reported by the OTC Bulletin Board or the National Quotation Bureau
Incorporated (or similar organization or agency succeeding to its functions of reporting prices), then the average of the
"Pink Sheet" quotes for the Common Stock on such date, or (c) ifthe Common Stock is not then publicly traded the fair
market value of a share of Common Stock on such date as determined by the Board in good faith; provided, however, that
the Majority Holders, after receipt of the determination by the Board, shall have the right to select, jointly with the Issuer,
an Independent Appraiser, in which case, the fair market value shall be the determination by such Independent Appraiser;
and provided, further that all determinations of the Per Share Market Value shall be appropriately adjusted for any stock
dividends, stock splits or other similar transactions during the period between the date as of which such market value was
required to be determined and the date it is finally determined. The determination of fair market value shall be based
upon the fair market value of the Issuer determined on a going concern basis as between a willing buyer and a willing
seller and taking into account all relevant factors determinative of value, and shall be final and binding on all parties. In
determining the fair market value of any shares of Common Stock, no consideration shall be given to any restrictions on
transfer of the Common Stock imposed by agreement or by federal or state securities laws, or to the existence or absence
of, or any limitations on, voting rights.

              "Qualifying Entity" means an entity which has its common equity securities traded or quoted on a national
securities exchange or the OTC Bulletin Board.

             "Securities" means any debt or equity securities of the Issuer, whether now or hereafter authorized, any
instrument convertible into or exchangeable for Securities or a Security, and any option, warrant or other right to
purchase or acquire any Security. "Security" means one of the Securities.

                "Securities Act" means the Securities Act of 1933, as amended, or any similar federal statute then in effect.

             "Subsidiary" means any corporation at least 50% of whose outstanding Voting Stock, and a limited liability
company at least 50% of whose membership interests, shall at the time be owned directly or indirectly by the Issuer or by
one or more of its Subsidiaries.

                "Term" has the meaning specified in Section 1 hereof.

               "Trading Day" means (a) a day on which the Common Stock is traded on the OTC Bulletin Board, or(b) if
the Common Stock is not traded on the OTC Bulletin Board, a day on which the Common Stock is quoted in the over-
the-counter market as reported by the National Quotation Bureau Incorporated (or any similar organization or agency
succeeding its functions ofreporting prices); provided, however, that in the event that the Common Stock is not listed or
quoted as set forth in (a) or (b) hereof, then Trading Day shall mean any day except Saturday, Sunday and any day which
shall be a legal holiday or a day on which banking institutions in the State of New York are authorized or required by law
or other government action to close.

                "Trigger Price" means the average VWAP for any thirty (30) consecutive Trading Days.

              "Voting Stock" means, as applied to the Capital Stock of any corporation, Capital Stock of any class or
classes (however designated) having ordinary voting power for the election of a majority of the members of the Board of
Directors (or other governing body) of such corporation, other than Capital Stock having such power only by reason of
the happening of a contingency.


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               "VWAP" means, for any date, (i) the daily volume weighted average price of the Common Stock for such
date on the NYSE MKT (or other national securities exchange, if applicable) as reported by Bloomberg Financial L.P.
(based on a Trading Day from 9:30 a.m. Eastern Time to 4:02 p.m. Eastern Time); or (ii) ifthe Common Stock is not
then listed or quoted on a national securities exchange, and if prices for the Common Stock are then reported on the OTC
Bulletin Board (or a similar organization or agency succeeding to its functions ofreporting prices), the most recent bid
price per share of the Common Stock so reported.

              "Warrants" means the Series W Warrants issued and sold pursuant to the Exchange Agreement, including,
without limitation, this Warrant, and any other warrants oflike tenor issued in substitution or exchange for any thereof
pursuant to the provisions hereof or of any of such other Warrants.

             "Warrant Price" initially means U.S. $0.01, as such price may be adjusted from time to time as shall result
from the adjustments specified in this Warrant, including Section 4 hereto.

             "Warrant Share Number" means at any time the aggregate number of shares of Warrant Stock which may at
such time be purchased upon exercise of this Warrant, after giving effect to all prior adjustments and increases to such
number made or required to be made under the terms hereof.

             "Warrant Stock" means Common Stock issuable upon exercise of any Warrant or Warrants or otherwise
issuable pursuant to any Warrant or Warrants.

           9.    Other Notices. In case at any time:

                   (a) the Issuer shall make any distributions to the holders of Common Stock; or

               (b) the Issuer shall authorize the granting to all holders of its Common Stock of rights to subscribe
 for or purchase any shares of Capital Stock of any class or of any Common Stock Equivalents or other rights; or

                   (c)      there shall be any reclassification of the Capital Stock of the Issuer; or

                   (d)      there shall be any capital reorganization by the Issuer; or

               (e) there shall be any (i) consolidation or merger involving the Issuer or (ii) sale, transfer or other
 disposition of all or substantially all of the Issuer's property, assets or business (except a merger or other
 reorganization in which the Issuer shall be the surviving corporation and its shares of Capital Stock shall continue to
 be outstanding and unchanged and except a consolidation, merger, sale, transfer or other disposition involving a
 wholly-owned Subsidiary); or

                (t) there shall be a voluntary or involuntary dissolution, liquidation or winding-up of the Issuer or
 any partial liquidation of the Issuer or distribution to holders of Common Stock;

then, in each of such cases, the Issuer shall give written notice to the Holder of the date on which (i) the books of the
Issuer shall close or a record shall be taken for such dividend, distribution or subscription rights or (ii) such
reorganization, reclassification, consolidation, merger, disposition, dissolution, liquidation or winding-up, as the case
may be, shall take place. Such notice also shall specify the date as of which the holders of Common Stock ofrecord shall
participate in such dividend, distribution or subscription rights, or shall be entitled to exchange their certificates for
Common Stock for securities or other property deliverable upon such reorganization, reclassification, consolidation,
merger, disposition, dissolution, liquidation or winding-up, as the case may be. Such notice shall be given at least twenty
(20) days prior to the action in question and not less than twenty (20) days prior to the record date or the date on which
the Issuer's transfer books are closed in respect thereto. The Holder shall have the right to send two (2) representatives
selected by it to each meeting, who shall be permitted to attend, but not vote at, such meeting and any adjournments
thereof. This Warrant entitles the Holder to receive copies of all financial and other information distributed or required to
be distributed to the holders of the Common Stock.

         10. Amendment and Waiver. Any term, covenant, agreement or condition in this Warrant may be amended, or
compliance therewith may be waived (either generally or in a particular instance and either retroactively or
prospectively), by a written instrument or written instruments executed by the Issuer and the Majority Holders; provided,
however, that no such amendment or waiver shall reduce the Warrant Share Number, increase the Warrant Price, shorten

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the period during which this Warrant may be exercised or modify any provision of this Section 11 without the consent of
the Holder of this Warrant.

      11. Governing Law. THIS WARRANT SHALL BE GOVERNED BY AND CONSTRUED IN
ACCORDANCE WITH THE LAWS OF THE STATE OF NEW YORK, WITHOUT GIVING EFFECT TO
PRINCIPLES OF CONFLICTS OF LAW, EXCEPT TO THE EXTENT THE GENERAL CORPORATION
LAW OF DELA WARE SHALL APPLY.

          12. Notices. Any and all notices or other communications or deliveries required or permitted to be provided
hereunder shall be in writing and shall be deemed given and effective on the earlier of (i) the date of transmission, if such
notice or communication is delivered via facsimile at the facsimile telephone number specified for notice prior to 5:00
p.m., eastern time, on a Trading Day, (ii) the Trading Day after the date of transmission, if such notice or communication
is delivered via facsimile at the facsimile telephone number specified for notice later than 5 :00 p.m., eastern time, on any
date and earlier than 11 :59 p.m., eastern time, on such date, (iii) the Trading Day following the date of mailing, if sent by
nationally recognized overnight courier service or (iv) actual receipt by the party to whom such notice is required to be
given. The addresses for such communications shall be with respect to the Holder of this Warrant or of Warrant Stock
issued pursuant hereto, addressed to such Holder at its last known address or facsimile number appearing on the books of
the Issuer maintained for such purposes, or with respect to the Issuer, addressed to:

                              Navidea Biopharmaceuticals, Inc.
                              5600 Blazer Parkway, Suite 200
                              Dublin, OH 43017
                              Tel. No.: (614) 793-7500
                              Fax No.: (614) 793-7520

                              with a copy to:

                              Dickinson Wright PLLC
                              150 East Gay Street, Suite 2400
                              Columbus, OH 43215
                              Attn: William J. Kelly, Jr.
                              Fax: (248) 433-7274

Copies of notices to the Holder shall be sent to Burak Anderson & Melloni, PLC, 30 Main Street, Burlington, Vermont
05402, Tel No.: (802) 862-0500, Fax No.: (802) 862-8176. Any party hereto may from time to time change its address
for notices by giving at least ten (10) days written notice of such changed address to the other party hereto.

          13. Warrant Agent. The Issuer may, by written notice to each Holder of this Warrant, appoint an agent having
an office in New York, New York for the purpose of issuing shares of Warrant Stock on the exercise of this Warrant
pursuant to subsection (b) of Section 2 hereof, exchanging this Warrant pursuant to subsection (d) of Section 2 hereof or
replacing this Warrant pursuant to subsection (d) of Section 3 hereof, or any of the foregoing, and thereafter any such
issuance, exchange or replacement, as the case may be, shall be made at such office by such agent.

          14. Remedies. The Issuer stipulates that the remedies at law of the Holder of this Warrant in the event of any
default or threatened default by the Issuer in the performance of or compliance with any of the terms of this Warrant are
not and will not be adequate and that, to the fullest extent permitted by law, such terms may be specifically enforced by a
decree for the specific performance of any agreement contained herein or by an injunction against a violation of any of
the terms hereof or otherwise.

         15. Successors and Assigns. This Warrant and the rights evidenced hereby shall inure to the benefit ofand be
binding upon the successors and assigns of the Issuer, the Holder hereof and (to the extent provided herein) the Holders
of Warrant Stock issued pursuant hereto, and shall be enforceable by any such Holder or Holder of Warrant Stock.

           16. Modification and Severability. If, in any action before any court or agency legally empowered to enforce
any provision contained herein, any provision hereof is found to be unenforceable, then such provision shall be deemed
modified to the extent necessary to make it enforceable by such court or agency. If any such provision is not enforceable
as set forth in the preceding sentence, the unenforceability of such provision shall not affect the other provisions of this
Warrant, but this Warrant shall be construed as if such unenforceable provision had never been contained herein.


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         17. Headings. The headings of the Sections of this Warrant are for convenience ofreference only and shall not,
for any purpose, be deemed a part of this Warrant.

          18. Voting. This Warrant does not entitle the Holder to any voting rights or other rights as a shareholder of the
Issuer prior to the exercise hereof as set forth in Section 2.




                                                [Signature page follows]




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  {00135457.4)                                           12
 16-12925-scc              Doc 112-1   Filed 10/05/18 Entered 10/05/18 17:18:55                 Exhibit 1-14
                                               Pg 34 of 102
                                                                                                 WLL15-002

              IN WITNESS WHEREOF, the Issuer has executed this Warrant as of August 20, 2015.


                                        NA VIDEA BIO PHARMACEUTICALS, INC.


                                        By:
                                              Name: Brent L. Larson

                                              Title: Executive Vice President and CFO




COLUMBUS 59564-1 32807v4
  {00135457.4)                                       13
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                                                                                                            WLL15-002


                                     NA VIDEA BIO PHARMACEUTICALS, INC.

                                                      WARRANT
                                                    EXERCISE FORM


The undersigned                               , pursuant to the provisions of the within Warrant, hereby elects to
purchase _ _ shares of Common Stock ofNavidea Biopharmaceuticals, Inc. covered by the within Wairnnt.

Dated:                                                     Signature

                                                           Address



Number of shares of Common Stock beneficially owned or deemed beneficially owned by the Holder on the date of
Exercise:
            -----------
The undersigned is an "accredited investor" as defined in Regulation D under the Securities Act of 1933, as
amended.

The undersigned intends that payment of the Warrant Price shall be made as (check one):

                           Cash Exercise - - -

                           Cashless Exercise _ __

If the Holder has elected a Cash Exercise, the Holder shall pay the sum of$ _ _ _ _ by ce1iified or official bank check
(or via wire transfer) to the Issuer in accordance with the terms of the Warrant.

If the Holder has elected a Cashless Exercise, a certificate shall be issued to the Holder for the number of shares equal to
the whole number portion of the product of the calculation set forth below, which is _ _ _ __

             X = Y -(A)(Y)
                           B

Where:

The number of shares of Common Stock to be issued to the Holder _ _ _ _ _ _ _ _("X").

The number of shares of Common Stock purchasable upon exercise of all of the Warrant or, if only a portion of the
Warrant is being exercised, the pmiion of the Warrant being exercised                                ("Y").

The Warrant Price _ _ _ _ _ _ _ ("A").

The Per Share Market Value of one share of Common Stock _ _ _ _ _ _ _ _ _ _ _ ("B").




COLUMBUS 59564-1 32807v4
  (00135457.4)                                           14
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                                                      Pg 36 of 102
                                                                                                            WLL15-00J.


                                                     ASSIGNMENT

FOR VALUE RECEIVED,                                hereby sells, assigns and transfers unto _ _ _ _ _ _ _ _ the
within Warrant and all rights evidenced thereby and does irrevocably constitute and appoint           , attorney, to
transfer the said Warrant on the books of the within named corporation.

Dated:                                                Signature

                                                      Address




                                                 PARTIAL ASSIGNMENT

FOR VALUE RECEIVED,                              hereby sells, assigns and transfers unto                          the right
to purchase              shares of Warrant Stock evidenced by the within Warrant together with all rights therein, and
does irrevocably constitute and appoint                         , attorney, to transfer that part of the said Warrant on the
books of the within named corporation.

Dated:                                                Signature

                                                      Address



                                              FOR USE BY THE ISSUER ONLY:

This Warrant No. W-_ canceled (or transferred or exchanged) this _ _ day of               _ _,shares of
Common Stock issued therefor in the name of                  , Warrant No. X-_ _ issued for    shares of
Common Stock in the name of _ _ _ _ _ __




{00135457.4) COLUMBUS/1406229 v.01
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                       Exhibit 4
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 ~·
                                                                              Custody Holdings                                                             Report ID ICUS0016
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                                                                                Pg   38   of    By Stat us
  BNY MELLON
 Platinum                                                                          11/16/2017
- - PLATINUM PARTNERS VAL ARBITRAGE FD LP


                                                                                                  Traded Shares/Par
                                                                                                                                               Pending                Pending
                                                      Ctry                                                                   Settled           Receive                 Deliver
            ISIN Description                    Ccy   Inc    Status          Loe    Reg             Amortized Face        Shares/Par        Shares I Par            Shares/Par

US6399920155     NAVIDEA WTS 20AUG35 RESTR      USO US       AVAILABLE       NYV    NAME             5,4 11,850.0000   5,411,850.0000




                          TOTAL BY UNITS - - - PLATINUM PARTNERS VAL ARBITRAGE FD LP
               TOTAL BY AMORTIZED FACE - - - PLATINUM PARTNERS VAL ARBITRAGE FD LP
                                                                                                ==================================================




11/16/2017 9:1005AM EST                                                   Page 4 of 8                                                                         Workbench Reports
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                       Exhibit 5
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IN THE GRAND COURT OF THE CAYMAN ISLANDS
FINANCIAL SERVICES DIVISION

                                                           CAUSE NO: FSD 131 OF 2016 (AJJ)


IN THE MATTER OF THE COMPANIES LAW (2013 REVISION)

AND IN THE MATTER OF THE EXEMPTED LIMITED PARTNERSHIP LAW, 2014

AND IN THE MATTER OF PLATINUM PARTNERS VALUE ARBITRAGE FUND LP.



BEFORE THE HONOURABLE MR. JUSTICE ANDREW J. JONES QC
IN CHAMBERS
25 AUGUST 2016



                                            ORDER


UPON the application (this "Application ") of Platinum Partners Value Arbitrage Fu nd L.P. (the
"Master Fund") acting by Platinum Management (NY) LLC (the "General Partner") in its
capacity as the general partner of the Master Fund pursuant its ex parte Summons issued on 23
August 2016 for the appointment of joint provisional liquidators pursuant to section 104(3) of the
Companies Law (2013 Revision) (as amended) (the "Companies Law") (as applied by and
subject to section 36 of the Exempted Limited Partnership Law, 2014);

AND UPON reading the winding up petition presented by the Master Fund acting by its General
Partner on 23 August 2016 2016 (the "Petition"), the First Affidavit of Mark Nordlicht sworn on
23 August 2016, the Second Affidavit of Nordlicht sworn on 23 August 2016, the Third Affidavit
of Mark Nordlicht sworn on 24 August 2016, the First Affidavit of Matthew Wright sworn on 19
August 2016, the First Affidavit of Christopher Kennedy sworn on 19 August 2016, the First
Affidavit of Patrick McConvey sworn on 24 August 2016 and the respective exhibits thereto;

AND UPON hearing counsel for the Master Fund , acting by its General Partner

IT IS ORDERED THAT:

1.     Matthew Wright and Christopher Kennedy both of RHSW (Cayman) Limited , Windward
       1, Regatta Office Park, P.O. Box 897, West Bay Road, Grand Cayman, KY1-1103,
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     Cayman Islands, be appointed as joint provisional liquidators (the "JPLs") of the Master
     Fund with the power to act jointly and severally and during the period of their
     appointment, any act required or authorised to be done by the JPLs may be done by any
     one or more of the JPLs.

2.   The JPLs shall not be required to give security for their appointment.

3.   The JPLs are hereby authorised jointly and severally to take such steps as, in their
     discretion, may be necessary or expedient for the purpose of presenting a compromise
     or arrangement to the creditors of the Master Fund in order to facilitate the maximisation
     of the value of the assets of the Master Fund upon their realisation .

4.   In add ition to the powers prescribed in Part II of the Third Schedule to the Companies
     Law, the JPLs are hereby authorised jointly and severally to exercise any of the fo ll owing
     powers without further sanction of the Court:

     (a)    the power to defend any action or other leg al pending aga inst the Master Fund;

     (b)    the power to enter into discussions and negotiations for and on behalf of the
            Master Fund for the purpose of, but not limited to -

            (i)        restructuring the Master Fund's business and operations;

            (ii)       restructuring or rescheduling the Master Fund's indebtedness; and/or

            (iii)      making any compromise or arrangement with creditors or persons
                       claiming to be creditors or having or alleging themse lves to have any
                       claim (present or future, certain or contingent, ascertained or sounding
                       only in damages) against the Master Fund or for which the Master Fund
                       may be rendered liable;

     (c)    the power to sell any of the Master Fund's property by public auction or private
            contract with power to transfer the whole of it to any person or to sell the same in
            parcels, in each case subject to the prior consent of the liquidation committee
            constituted pursuant to paragraph 5 of this Order (the "Liquidation Committee")
            or, if such consent is not provided, subject to the prior sanction of the Court;
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     (d)   the power to raise or borrow money and grant securities therefor over the
           property of the Master Fund, in each case subject to the prior consent of the
           Liquidation Committee or, if such consent is not provided, subject to the prior
           sanction of the Court;

     (e)   the power to engage staff (whether or not as employees of the Master Fund) to
           assist the JPLs in the performance of their functions;

     (f)   the power to engage independent attorneys and other professionally qualified
           persons to assist the JPLs in the performance of their functions, whether in the
           Cayman Islands or elsewhere provided that the JPLs shall not engage Walkers,
           Schulte Roth & Zabel LLP or Dechert LLP as attorneys for the JPLs;

     (g)   the power to:

           (i)       take control of the ownership interests of the Master Fund in its direct
                     subsidiaries and/or joint ventures, investment, associated companies,
                     business or other entities ("Subsidiaries") of the Master Fund in which
                     the Master Fund holds an interest, in each case wherever located, as the
                     JPLs shall think fit;

           (ii)      call or cause to be called such meetings of such Subsidiaries and/or to
                     sign such resolutions (in each case in accordance with the provisions of
                     any relevant constitutional or related documentation of such companies)
                     and take such other steps, including applications to appropriate courts
                     and/or regulators, as the JPLs shall consider necessary to appoint or
                     remove directors, legal representatives, officers, and/or managers to or
                     from such Subsidiaries, and in each case take such steps as are
                     necessary to cause the registered agents (or other equivalent corporate
                     administrators) of such Subsidiaries to give effect to the changes to the
                     boards of directors, legal representatives , officers, and/or managers of
                     such Subsidiaries, including (without limitation) effecting changes to the
                     company registers of such Subsidiaries as may be deemed appropriate
                     by the JPLs; and/or                                                          ~   •




                                                                                 ..'
                                                                                 . '!
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            (iii)      to take such other action in relation to all such Subsidiaries as the JPLs
                       shall think fit for the purpose of protecting the assets of the Master Fund
                       and managing the affairs of the Master Fund;


     (h)    the power to communicate with and carry out any necessary filings with
            regulatory bodies as appropriate, including, without limitation, the Cayman
            Islands Registrar of Exempted Limited Partnerships, the Cayman Islands
            Monetary Authority and the United States Securities and Exchange Commission
            in the name and on behalf of the Master Fund;

     (i)    subject to the prior sanction of the Court following an application to be made
            upon not less than five days' notice to the Liquidation Committee, the power to
            engage either Platinum Management (NY) LLC, or another professional asset
            manager, to act as investment adviser;

     U)     subject to the prior sanction of the Court following an application to be made
            upon not less than five days' notice to the Liquidation Committee, the power to
            engage or re-engage the services of Guidepost Solutions LLC; and


     (k)    the power to do all acts and execute, in the name and on behalf of the Master
            Fund, all deeds, receipts and other documents in connection with the exercise of
            their powers notwithstanding that the JPLs are not the general partner of the
            Master Fund and, for that purpose, use the Master Fund's seal (if any) when
            necessary.

5.   A Liquidation Committee shall be constituted consisting of -

     (a)    not more than three creditors of the Master Fund;

     (b)    an unredeemed shareholder of Platinum              Partners Value Arbitrage Fund
            (International) Limited (the "Offshore Feeder Fund") ; and


     (c)    a limited partner of Platinum Partners Value Arbitrage Fund (USA) LP ("the
            Onshore Feeder Fund")


6.
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      Offshore Feeder Fund, the Onshore Feeder Fund, the JPLs or any other person by
      reason of, or in connection with, their membership of or participation in the Liquidation
      Committee.

7.    The Liquidation Committee be authorised to engage Cayman Islands attorneys whose
      fees and expenses, reasonably and properly incurred on the instructions of the
      Liquidation Committee, sha ll be paid out of the assets of the Master Fund as an expense
      of the provisional liquidation.

8.    The JPLs be authorised, if they think fit, to take any such action as may be necessary or
      desirable to obtain recognition of the appointment of the JPLs in any other relevant
      jurisdiction and to make applications to the courts of such jurisdictions for that purpose,
      including, without limitation as representatives of the Master Fund (as applicable) to
      seek relief under Chapter 15 of Title 11 of the United States Bankruptcy Code, and to
      take such steps arising in connection therewith that the JPLs may consider appropriate.

9.    Pursuant to Section 97 of the Companies Law, no suit, action or other proceedings,
      including criminal proceedings, shall be proceeded with or commenced against the
      Master Fund except with the leave of the Court and subject to such terms as the Court
      may impose.

10.   Pursuant to Section 99 of the Companies Law, no disposition of the Master Fund's
      property by or with the authority of the JPLs in either case in the carrying out of their
      duties and functions and the exercise of their powers pursuant to this Order shall be
      avoided and any payments made into or out of the bank accounts(s) of the Master Fund
      in the ordinary course of business of the Master Fund between the date of the
      presentation of the Petition herein and the date of the appointments of the JPLs shall not
      be avoided by virtue of the provisions of section 99 of the Companies Law in the event of
      an order for the winding up of the Master Fund being made on the Petition.

11.   The costs of and incidental to the Application incurred by the Master Fund sha ll be
      agreed and paid by the JPLs out of the assets of the Master Fund.
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AND IT IS FURTHER DIRECTED THAT:

12.   The hearing of the Petition shall be adjourned to 27 October 2016 at 10.00 am and any
      creditor of the Master Fund shall have liberty to apply, upon not less than 14 days' notice
      to the Master Fund and the JPLs, to -

      11.1 discharge or vary this order; and/or

      11.2 remove the JPLs and appo int alternative provisional liquidators.

13.   Any creditor or shareholder of the Offshore Feeder Fund and any creditor or limited
      partner of the Onshore Feeder Fund may be heard on the adjourned hearing of the
      Petition .

14.   The JPLs and/or the General Partner shall cause copies of the Petition and this Order to
      be served upon -

      14.1    all creditors of the Master Fund;

      14.2    all redemption creditors and shareholders of the Offshore Feeder Fund; and

      14.3    all creditors and limited partners of the Onshore Feeder Fund .

15.   The JPLs shall provide copies of all affidavits and exhibits thereto filed in support of the
      Petition and the Summons, upon request, to any creditor, shareholder and/or limited
      partner of the Master Fund, the Offshore Feeder Fund and the Onshore Feeder Fund.

16.   The JPLs shall file a report to the Court detailing the progress of the provisional
      liquidation and setting out their recommendations for any potential restructuring and
      shall make such report available to all creditors and limited partners of the Master Fund
      and all creditors and shareholders of the Offshore Feeder Fund and all creditors and
      limited partners of the Onshore Feeder Fund by no later than 13 October 2016.
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17.     A transcript of the hearing of this Application shall be prepared and approved by the
        Judge and the JPLs shall provide copies, upon request, all creditors, shareholders and
        limited partners of the Master Fund, the Offshore Feeder Fund and the Onshore Feeder
        Fund.



DATED this 25th day of August 2016


FILED this 291h day of August 2016




The Honourable Mr. Justice Andrew J. Jones QC

JUDGE OF THE GRAND COURT




This Order is filed by Walkers, Attorneys at Law for the Petitioner whose address for service is care of its
said Attorneys at Law, Walkers, 190 Elg in Avenue, George Town, Grand Cayman, KY1-9001 , Cayman
Islands.
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                       Exhibit 6
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IN THE GRAND COURT OF THE CAYMAN ISLANDS

FINANCIAL SERVICES DIVISION
                                                          CAUSE NO: FSD 131 of 2016 (AJJ)

The Honourable Mr. Justice Andrew J. Jones QC
In Open Court, 27 October 2016


IN THE MATTER OF THE COMPANIES LAW (2016 REVISION)

AND IN THE MATTER OF THE EXEMPTED LIMITED PARTNERSHIP LAW, 2014

AND IN THE MATTER OF PLATINUM PARTNERS VALUE ARBITRAGE FUND L.P. (IN
PROVISIONAL LIQUIDATION)



                                    WINDING UP ORDER




UPON hearing counsel for Platinum Management (NY) LLC in its capacity as general partner of
Platinum Partners Value Arbitrage Fund L.P. (in Provisional Liquidation) (the "Master Fund") on
the adjourned hearing of the winding up petition presented in respect of the Master Fund on 23
August 2016


AND UPON reading the First affidavit of Harris D. Kealey sworn on 19 October 2016, the
Second Affidavit of Matthew Wright sworn on 24 October 2016, the First Affidavit of Claire
Loebell sworn on 10 October 2016, the First Affidavit of Kieran Hutchison sworn on 12 October
2016, the Fourth Affidavit of Mark Nordlicht sworn on 26 October 2016, the Third Affidavit of
Matthew Wright sworn on 26 October 2016, the First Affidavit of Richard Bernstein sworn on 26
October 2016 and the respective exhibits thereto


AND UPON hearing (a) counsel for Mr. Matthew Wright and Mr. Christopher Kennedy, both of
RHSW (Cayman) Limited ("Messrs. Wright and Kennedy") in their capacity as joint provisional
liquidators of the Master Fund, (b) counsel for New Mountain Finance Company, a creditor of
the Master Fund, (c) counsel for BRe BCLIC Sub, BRe WNIC 2013 LTC Primary, BRe WNIC
2013 LTC Sub, Senior Health Insurance Company of Pennsylvania and BBIL ULICO (referred
to collectively as "the Beechwood Group"), Jules and Barbara Nordlicht, Parker Family Limited
Partnership, Alaska Trust Company, Swedbank for Core Peak Hedge, Adela Kenner de Katz,
Shumuel and Serena Fuchs Foundation, Paularene Management Inc. and Rivie Schewebel
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Retirement Plan, creditors of the Master Fund and/or shareholders or creditors of Platinum
Partners Value Arbitrage Fund (International) Limited (In Liquidation) (the "Feeder Fund")


AND UPON having determined that the same insolvency practitioners should not serve as
official liquidators of both the Master Fund and the Feeder Fund


AND UPON Messrs Wright and Kennedy having given notice to the Court of their intention to
resign as official liquidators of the Feeder Fund in the event that their interim appointment as
official liquidators of the Master Fund is confirmed by the Court at a hearing to be held on 12
December 2016 in respect of both this cause and Cause FSD 118 of 2016 - AJJ) (the
"Combined Hearing")


AND UPON the Court having determined that all matters relating to the appointment of official
liquidators of the Master Fund and Feeder Fund should be heard and determined together at
the Combined Hearing


IT JS ORDERED THAT


1.                    The Master Fund be wound up in accordance with the provisions of the Companies Law
                      (2016 Revision) as applied by section 36 of the Exempted Limited Partnership Law
                      2014.


2.                    Messrs. Wright and Kennedy of RHSW (Cayman) Limited, Windward 1, Regatta Office
                      Park, PO Box 897, Grand Cayman, KY1-1103, be appointed as the joint official
                      liquidators of the Master Fund on an interim basis until the end of the Combined Hearing
                      or further order of the Court.

3.                    The Official Liquidators shall have the power to act jointly and severally and any act
                      required or authorised to be done by the official liquidators may be done by either or
                      both of them.


              NJ:t1e Official Liquidators shall not be required to give security for their appointment.
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       ;   -.-;·,._
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                      /_     -~:
                                    to the powers prescribed in Part II of the Third Schedule to the Companies
        • •Law·'(2016 revision), the Official Liquidators may also exercise the following powers set
                                  "   ·,
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          out in Part I of the Third Schedule without further sanction or intervention from the Grand
          Court:


         a.                   the power to defend or continue any action or legal proceedings pending against
                              the Master Fund or previously commenced by the Master Fund, including but not
                              limited to those actions and proceedings referred to in paragraphs 3.52 to 3.59 of
                              the Abridged Report;


         b.                   the power, subject to the unanimous approval of the liquidation committee (failing
                              which, the sanction of the court, to be sought on no less than 5 days' notice), to
                              sell any of the Master Fund's property by public auction or private contract with
                              power to transfer the whole of it to any person or to sell the same in parcels in
                              order to be able to realise any of the Master Funds' assets;


         c.                   the power to engage Collas Crill as Cayman Islands legal counsel and Holland &
                              Knight as United States legal counsel; and


         d.                   power to continue the petition presented to the United States Bankruptcy Court,
                              Southern District of New York (No.16-1295-scc) for recognition under Chapter 15
                              of the United States Bankruptcy Code.



6.        No suit, action or other proceedings, including criminal proceedings, shall be proceeded
         or commenced against the Master Fund except with leave of the Grand Court pursuant
         to section 97 of the Companies Law (2016 Revision).


7.        No disposition of the Master Fund property by or with the authority of the Official
          Liquidators in the carrying out of their duties and functions and the exercise of their
          powers shall be avoided by virtue of section 99 of the Companies Law.



ANO   IT IS FURTHER DIRECTED THAT

         T~JJ)ffic;ial Liquidators shall prepare and file a report to the Court which shall deal with
               --,   ; <( -   '


       • the fofidwing matters -
      --- ->,_ '/, :;             {
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                                           (a) A plan in respect of the work intended to be performed by or on behalf of the Official
                                                   Liquidators in the six months ended 30 April 2017, including details of the staff who
                                                   will be engaged;
                                           (b) A budget in respect of the anticipated liquidation expenses for the period ended 30
                                                   April 2017;
                                           (c) Details of any law firms other than Collas Crill and Holland & Knight which are
                                                   proposed to be engaged by the Official Liquidators;
                                           (d) Details of the professional portfolio manager(s) intended to be engaged or re-
                                                   engaged by the Official Liquidators, including drafts of the proposed contracts of
                                                   engagement;
                                           (e) In the event that the Official Liquidators intend to engage Guidepost Solutions LLC,
                                                   details of the proposed engagement including a draft of the proposed contract of
                                                   engagement;
                                           (f) Details of the "key professionals" intended to be engaged by the Official liquidators or
                                                   employed by the Master Fund and/or any of its subsidiaries, including drafts of the
                                                   proposed contracts engagement or employment; and
                                          (g) Details of any other professional service providers intended to be engaged by the
                                                   Official Liquidators or engaged or re-engaged to act on behalf of the Master Fund
                                                   and/or any of its subsidiaries, including drafts of the proposed contracts of
                                                   engagement
                                           ("the Report").


                   9.                     The Report shall be filed by Monday 21 November 2016 and shall be served on or sent
                                          by e-mail to (a) the members of the Liquidation Committees of both the Master Fund and
                                          the Feeder Fund, (b) all known creditors of the Master Fund and (c) the shareholders
                                          and all known creditors of the Feeder Fund.


                   10.                    The Liquidation Committee constituted following the meeting convened                     on 28
                                          September 2016 (pursuant to paragraph 5 of the Order made on 25 August 2016) shall
                                          remain in place and retain its authority to act until further order of the Court.


                                          l)'l,the event that the Liquidation Committee (or any of its members acting individually) or
                               ''\\!io~· creditor of the Master Fund wishes to nominate a qualified insolvency practitioner(s)
                                  \_ ~:,.:.:t '.;
                                   r!fpr ,appointment as official liquidator of the Master Fund in place of Messrs. Wright and
                              , . KE!hnedy, notice of his intention together with supporting affidavits which shall comply
-;__., .-." _,.,,' '- ,.·L':·.'.<:~ .·   ;<'   .
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          with the requirements of CWR Order 3, rule 4 and address, so far as possible, the
          matters referred to in the Report, shall be served on the Official Liquidators no later than
          Monday 5 December 2016




DATED this 27th day of October 2016

FILED this     znct   day of November 2016




The Honourable Mr. Justice Andrew J. Jones QC




This Order is flied by Callas Crlll, Attorneys-at-Law for and on behalf of the Joint Official Liquidators of Platinum Partners Value
Arbitrage Fund L.P. (In Official Liquidation) herein, whose address for service is that of their said Attorneys, Floor 2, Willow House,
Crtcket Square, George Town, PO Box 709, Grand Cayman, KY1-1107, CAYMAN ISLANDS
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                       Exhibit 7
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          (d) The power to take such other action in relation to any of the Subsidiaries as the
                Official Liquidators think fit for the purpose of protecting their assets and, indirectly,
               the assets of the Master Fund; and


          (e) The power to re-engage, on terms complying with CWR Order 25, all or any of those
               foreign lawyers currently acting for the Master Fund itself (either alone or jointly with
                one or more Subsidiaries) in connection with a~ceedings or arbitrations to
               which the Master Fund is a party.                                  (j
3.        The Official Liquidators are authorised to engage -
          (a) GLC Advisors & Co as portfolio managers and advisers on substantially the same
               terms as the letter agreement contained in Appendix Ill to the Second Report;
          (b) LDM Global as IT consultants on substantially the same terms as those set out in the
               proposal and terms of engagement contained in Appendix IV to the Second Report;
          (c) The Singapore law firm of DLA Piper on terms compliant with CWR Order 25.


4.        The Official Liquidators' costs of this application, including the cost of the Second Report
          and the hearing on 27 October 2016 shall be paid out of the assets of the Master Fund
          as an expense of the liquidation (except that the added cost of engaging leading counsel
          shall be disallowed).


5.        The Liquidation Committee's costs of this hearing (limited to the fees charged by
          Priestleys) shall be paid out of the assets of the Master Fund as an expense of the
          liquidation.



DATED this 16th day of December 2016




The Honourable Mr. Justice Andrew J. Jones QC


This Order is filed by Collas Crill, Attorneys-at-Law for and on behalf of the Joint Official Liquidators of Platinum Partners Value
Arbitrage Fund L.P. (In Official Liquidation) herein, whose address for service is that of their said Attorneys, Floor 2, Willow House,
Cricket Square, George Town, PO Box 709, Grand Cayman, KY1-1107, CAYMAN ISLANDS
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                       Exhibit 8
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IN THE GRAND COURT OF THE CAYMAN ISLANDS

FINANCIAL SERVICES DIVISION
                                                                                          CAUSE NO: FSD 131 of 2016 (AJJ)
IN CHAMBERS
29 SEPTEMBER 2017

BEFORE THE HONOURABLE MR. JUSTICE ANDREW J. JONES QC

IN THE MATTER OF THE COMPANIES LAW (2016 REVISION)

AND IN THE MATTER OF THE EXEMPTED LIMITED PARTNERSHIP LAW (2014 REVISION)

AND IN THE MATTER OF PLATINUM PARTNERS VALUE ARBITRAGE FUND LP. (IN OFFICIAL
LIQUIDATION)



                                                                ORDER



UPON reading the application of Mr. Matthew Wright and Mr. Christopher Kennedy both of RHSW
(Cayman) Limited, Windward 1, Regatta Office Park, P.O. Box 897, Grand Cayman, KY1-1103,
Cayman Islands, the joint official liquidators (the "JOLs") of Platinum Partners Value Arbitrage Fund
L.P. (the "Master Fund") made by letter dated 15 September 2017 (the "Application")


AND UPON reading the Application and its enclosures


AND UPON the Liquidation Committee of the Master Fund consenting to the                                    Applicatio ~



AND UPON the JOLs having engaged Rehmann Robson as US tax advisors


AND UPON the JOLs having negotiated the terms of a proposed Settlement and Assignment
Agreement and General Release (the "Airdye Settlement") made by and among the Master Fund;
Platinum Partners Credit Opportunities Master Fund LP ("PPCO"); and Meserole LLC; Airdye
Holdings LLC; Saviva FS I LP; Saviva FS I GP LLP; Fuller Smith Capital Management LLC; Daniel
Fuller; Debs Corporation; Hiroshi Hayashi; Soubhi Debs; Hani Debs; and Mystic Bay Holdings Ltd




       This Draft Order is filed by Collas Crill, Attorneys-at-Law for and on behalf of the Joint Official Liquidators of Platinum
         Partners Value Arbitrage Fund L.P. (In Official Liquidation) herein , whose address for service is that of their said
          Attorneys, 2"d Floor , Willow House, Cricket Square , PO Box 709, Grand Cayman , KY1-1107, Cayman Islands
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AND UPON the Court being satisfied that the resignation of Mr Matthew Wright as a joint official
liquidator of the Master Fund should take effect from 30 September 2017 and that Mr Martin Nicholas
John Trott should be appointed as successor liquidator


IT IS ORDERED THAT:


     1.          The JOLs shall have the power to engage Rehmann Robson as tax advisors on
                 the terms pursuant to the engagement letter executed on behalf of the Master
                 Fund on 12 September 2017.


     2.          The JOLs shall have the power to enter into the Airdye Settlement on
                 substantially the same terms as the version enclosed with the Application and
                 executed on behalf of PPCO.


     3.          Mr Matthew Wright be released from the performance of any further duties as
                 joint official liquidator of the Master Fund with effect from 30 September 2017
                 without the need to prepare a report and accounts in accordance with Order 10,
                 rule 2 of the Companies Winding Up Rules 2008 (as amended) ("CWR").


     4.          Mr Martin Nicholas John Trott of RHSW (Cayman) Limited, Windward 1, Regatta
                 Office Park, P.O. Box 897, Grand Cayman, KY1-1103, Cayman Islands, be
                 hereby appointed as successor liquidator to Matthew Wright with effect from 30
                 September 2017 pursuant to Order 5, rule 6 of CWR.

     5.          The Application and the supporting documents enclosed with it shall be sealed
                 for a period of six months.

     6.          The costs of and incidental to this application insofar as they relate to paragraphs
                  1 and 2 of this Order shall be paid out of the assets under the JO Ls' control as an
                 expense of the administration of the PSC Trust (as defined in the Summons
                 dated 22 August 2017) and/or as an expense of the liquidation.


     7.          The additional costs of this application insofar as they relate to paragraphs 3 and
                 4 of this Order are not recoverable as an expense of the administration of the


                                                                                                                                        2
          This Draft Order is filed by Callas Crill, Attorneys-at-Law for and on behalf of the Joint Official Liquidators of Platinum
            Partners Value Arbitrage Fund LP. (In Official Liquidation) herein, whose address for service is that of their said
             Attorneys, 2"d Floor, Willow House, Cricket Square, PO Box 709, Grand Cayman, KY1-1107, Cayman Islands
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               PSC Trust (as defined in the Summons dated 22 August 2017) and/or as an
               expense of the liquidation.



DATED this 29th day of September 2017

FILED this 2nd day of October 2017




     The Honourable Mr. Justice Andrew J. Jones QC
     Judge of the Grand Court




                                                                                                                                      3
       This Draft Order is filed by Collas Crill , Attorneys-at-Law for and on behalf of the Joint Official Liquidators of Platinum
         Partners Value Arbitrage Fund L.P. (In Official Liquidation) herein, whose address for service is that of their said
          Attorneys, 2 nd Floor , Willow House , Cricket Square, PO Box 709, Grand Cayman , KY1-1107, Cayman Islands
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                       Exhibit 9
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IN THE GRAND COURT OF THE CAYMAN ISLANDS

FINANCIAL SERVICES DIVISION
                                                                                         CAUSE NO: FSD 131 of 2016 (NAS)
IN CHAMBERS

BEFORE THE HONOURABLE MR. JUSTICE NICHOLAS A. SEGAL

IN THE MATTER OF THE COMPANIES LAW (2018 REVISION)

AND IN THE MATTER OF PLATINUM PARTNERS VALUE ARBITRAGE FUND L.P. (IN OFFICIAL
LIQUIDATION)



                                                                ORDER



UPON reading the application of Mr. Martin Trott and Mr Christopher Kennedy both of RHSW (Cayman)
Limited, Windward 1, Regatta Office Park, P.O. Box 897, Grand Cayman, KY1-1103, Cayman Islands,
the joint official liquidators (the "JOLs") of Platinum Partners Value Arbitrage Fund L.P. (the "Master
Fund") made by letter from Collas Crill dated 26 June 2018 (the "Application")


AND UPON reading the Application and its enclosures


AND UPON the Court being satisfied that the resignation of Mr. Christopher Kennedy as a joint official
liquidator of the Master Fund should take effect from 8 June 2018 and that Mr. Christopher Smith should
be appointed as successor liquidator


AND UPON the application having been dealt with on the papers


IT IS ORDERED THAT:


     1.        Mr. Christopher Kennedy be released from the performance of any further duties
               as joint official liquidator of the Master Fund with effect from 8 June 2018 without
               the need to prepare a report and accounts in accordance with Order 10, rule 2 of
               the Companies Winding Up Rules, 2018 ("CWR").




                                                                                                                                   1
      This Order is filed by Callas Crill, Attorneys-at-Law for and on behalf of the Joint Official Liquidators of Platinum Partners
       Value Arbitrage Fund L.P. (In Official Liquidation) herein, whose address for service is that of their said Attorneys, 2nd
                  Floor , Willow House, Cricket Square, PO Box 709, Grand Cayman, KY1-11 07, Cayman Islands
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     2.       Mr. Christopher Smith of RHSW (Cayman) Limited, Windward 1, Regatta Office
              Park, P.O. Box 897, Grand Cayman, KY1-1103, Cayman Islands, be hereby
              appointed as successor liquidator to Mr. Christopher Kennedy with effect from 8
              June 2018 pursuant to Order 5, rule 4(6) of the CWR.


     3.       The costs of the Application are not recoverable as an expense of the liquidation.



DATED this 6th day of July 2018
                ~
FILED this   C\    day of July 2018




                                        The Honourable Mr. Nicholas Segal
                                             Judge of the Grand Court




                                                                                                                                  2
     This Order is filed by Callas Crill, Attorneys-at-Law for and on behalf of the Joint Official Liquidators of Platinum Partners
      Value Arbitrage Fund L.P. (In Official Liquidation) herein , whose address for service is that of their said Attorneys, 2"d
                 Floor , Willow House, Cricket Square, PO Box 709, Grand Cayman, KY1-1107, Cayman Islands
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                         IN THE UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF NEW YORK
    ---------------------------------------------------------x
                                                            :
    In re:                                                  :    Chapter 15
                                                            :
    PLATINUM PARTNERS VALUE                                 :    Case No. 16-12925 (SCC)
    ARBITRAGE FUND L.P. (IN                                 :
    PROVISIONAL LIQUIDATION),1 et al.,                      :    (Jointly Administered)
                                                            :
                              Debtors in                    :
                              Foreign Proceedings.          :
                                                            :
                                                            :
    ---------------------------------------------------------x
              ORDER GRANTING RECOGNITION AND RELIEF IN AID OF A
              FOREIGN MAIN PROCEEDING PURSUANT TO SECTIONS 1504,
               1509, 1515, 1517, 1520 AND 1521 OF THE BANKRUPTCY CODE

         Matthew James Wright and Christopher Barnett Kennedy, duly appointed joint official

liquidators (“Petitioners” or “Liquidators”) of Platinum Partners Value Arbitrage Fund L.P. (in

Provisional Liquidation) (“Master Fund”) and the duly appointed joint official liquidators of

Platinum Partners Value Arbitrage Fund (International) Ltd. (in Official Liquidation)

(“International Fund” and together with Master Fund, the “Funds”), both Funds in liquidation

by way of the Financial Services Division of the Grand Court of the Cayman Islands (the

“Grand Court”) (cause nos. FSD 131 of 2016 (AJJ) (Master Fund) and 118 of 2016 (AJJ)

(International Fund)) as a result of the Grand Court’s orders (the “Liquidation Orders”) made

pursuant to petitions for the winding up of the Funds under, as applicable, sections 92 and 104 of

the Companies Law of the Cayman Islands (2016 Revision) (the “Companies Law”) and section

1
  The last four digits of the United States Tax Identification Number, or similar foreign identification number, as
applicable, follow in parentheses: Platinum Partners Value Arbitrage Fund L.P. (in Provisional Liquidation) (1954)
and Platinum Partners Value Arbitrage Fund (International) Ltd. (in Official Liquidation) (2356). The registered
office of the International Fund is c/o The R&H Trust Co. Ltd., Windward 1, Regatta Office Park, P.O. Box 897,
Grand Cayman KY1-1103, Cayman Islands. The Master Fund's registered address is c/o Intertrust Corporate
Services (Cayman) Limited, 190 Elgin Avenue, George Town, Grand Cayman, KY1-9005, Cayman Islands.
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36 of the Exempted Limited Partnership Law, 2014 (“ELP Law”) (collectively, the “Cayman

Liquidations”), by its United States counsel, Holland & Knight LLP, filed Official Form

Petitions, the Verified Petition for Recognition of Foreign Insolvency Proceedings and

Application for Additional Relief, Pursuant to Sections 1504, 1509, 1515, 1517, 1520 and 1521

of the Bankruptcy Code (the “Verified Petition,”2 and, together with the Official Form Petitions,

the “Petition”), and the accompanying Kennedy Declaration, Leontsinis Declaration, and Gluck

Declaration, seeking relief pursuant to chapter 15 of the Bankruptcy Code; and upon due

consideration of the Petition, Kennedy Declaration, Leontsinis Declaration and the Gluck

Declaration, together with all exhibits thereto, in support of the Petition, and hearing no

objections thereto, and a hearing having been held on November 21, 2016 the evidence put on

the record at the Hearing; and appropriate and timely notice of the filing of the Petition and the

Hearing thereon having been given by the Liquidators, pursuant to section 1514 of the

Bankruptcy Code; and such notice having been adequate and sufficient for all purposes; and

having been updated pursuant to Section 1518 of the Bankruptcy Code, and no other or further

notice being necessary or required; and no objections or other responses having been filed that

have not been overruled, withdrawn or otherwise resolved; and all interested parties having had

an opportunity to be heard at the Hearing; and after due deliberation and sufficient cause

appearing therefore, the Court makes the following findings of fact and conclusions of law:

        A.       This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334, and 11 U.S.C. §§ 109 and 1501 and the Amended Standing Order of Reference from the

United States District Court for the Southern District of New York dated February 1, 2012.




2
 Capitalized terms used, but not otherwise defined herein shall have the meanings given to them in the Verified
Petition.

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       B.      Venue of this proceeding is proper in this judicial district pursuant to 28 U.S.C.

§ 1410 (2) because there is an action pending against the Funds within this judicial district, and

the Court may enter a final order consistent with Article III of the United States Constitution.

       C.      This is a core proceeding under 28 U.S.C. § 157(b)(2)(P).

       D.      The Liquidators are the “foreign representatives” of the Funds pursuant to 11

U.S.C. § 101(24).

       E.      The chapter 15 cases of the Funds were properly commenced pursuant to 11

U.S.C. §§ 1504, 1509 and 1515.

       F.      The Liquidators have satisfied the requirements of 11 U.S.C. § 1515 and Rule

1007(a)(4) of the Federal Rules of Bankruptcy Procedure.

       G.      The Cayman Liquidations are “foreign proceedings” pursuant to 11 U.S.C.

§ 101(23).

       H.      The Cayman Liquidations are entitled to recognition by this Court pursuant to

11 U.S.C. § 1517.

       I.      The Cayman Liquidations are pending in the Cayman Islands, the country where

the Funds’ center of main interests is located, and accordingly the Cayman Liquidations are

foreign main proceedings pursuant to 11 U.S.C. § 1502(4), and are entitled to recognition as

foreign main proceedings pursuant to 11 U.S.C. § 1517(b)(1).

       J.      The Liquidators are entitled to all of the relief provided under 11 U.S.C. § 1520

and 1521 without limitation.

       K.      The relief granted hereby is necessary and appropriate, in the interests of the

public and international comity, consistent with the public policy of the United States, and

warranted pursuant to 11 U.S.C. §§ 1507, 1517, 1520 and 1521.



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        NOW, THEREFORE, IT IS HEREBY

        1.      ORDERED, that the Petition is granted as set forth herein;

        2.      ORDERED, that the Cayman Liquidations are recognized as foreign main

proceedings pursuant to 11 U.S.C. §§ 1517(a) and (b)(1);

        3.      ORDERED, that all persons and entities (other than the Liquidators and their

expressly authorized representatives and agents) are hereby enjoined, except as provided in

11 U.S.C. §§ 555 through 557, 559 through 562, 1520 and 1521 or as modified herein, from:

        (1)     executing against the Funds’ property or assets;

        (2)     taking or continuing any act to obtain possession of, or exercise control over, the
        Liquidators (with respect to the Funds), the Funds, or any of the Funds’ property or
        assets;

        (3)     taking or continuing any act to create, perfect or enforce a lien or other security
        interest, set-off or other claim against the Liquidators (with respect to the Funds), the
        Funds or any of the Funds’ property or assets as of the date of the filing of the Petition, or
        otherwise seeking the issuance of or issuing any restraining notice or other process or
        encumbrance with respect to the Funds or any of the Funds’ property or assets; and

        (4)     transferring, relinquishing or disposing of any property of the Funds to any person
        or entity other than the Liquidators;

and it is further

        4.      ORDERED, that 11 U.S.C. § 1520(a) shall be effective with respect to the

Cayman Liquidations; and it is further

        5.      ORDERED, that 11 U.S.C. § 1521(a)(1-3) shall be effective with respect to the

Cayman Liquidations and/or the stay, as provided for by Section 97(1) of the Companies Law,

shall be effective in the United States of America pursuant to 11 U.S.C. § 1507; and it is further

        6.      ORDERED, that the Liquidators or any third person acting pursuant to the

Liquidators’ instructions or agreement may transfer funds or property belonging to the Funds




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into or out of the United States of America in accordance with their respective obligations to the

Funds or under the Cayman Liquidations; and it is further

          7.       ORDERED, that the Liquidators are hereby authorized to examine witnesses,

take evidence, and seek the production of documents within the territorial jurisdiction of the

United States concerning the assets, affairs, rights, obligations or liabilities of the Funds, the

Funds affiliates and the Funds’ subsidiaries by:

                a. issuing discovery requests to intermediary banks that process U.S. dollar-
                   denominated wire transfers and maintain records of such transfers;

                b. upon written request, obtaining turnover of any and all documents, records,
                   filings, or other information, however stored, including but not limited to emails
                   that are property of, concern or were made or issued on behalf of the Funds, from
                   any person or entity subject to this Court's jurisdiction; and

                c. upon service of this order, prohibiting all persons and entities subject to the
                   jurisdiction of this Court from destroying, secreting, altering, deleting or
                   otherwise disposing of any electronic data, documents, records, filings, or other
                   information, however stored, concerning or relating to the assets, affairs, rights,
                   obligations or liabilities of the Funds; and it is further

          8.       ORDERED, that the Liquidators are authorized to operate the business of the

Funds that is the subject of Cayman Liquidations and may exercise the powers of a trustee under

and to the extent provided by 11 U.S.C. §§ 1520 and 1521; and it is further

          9.       ORDERED, that the Liquidators are hereby granted authority to assert claims of

the Funds against parties that are subject to jurisdiction in the United States of America; and it is

further

          10.      ORDERED, that the administration or realization of all or part of the assets of the

Funds within the territorial jurisdiction of the United States of America is hereby entrusted to the

Liquidators and the Liquidators are hereby established as the exclusive representatives of the

Funds in the United States of America; and it is further



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         11.    ORDERED, that this Court retains jurisdiction with respect to the enforcement,

amendment or modification of this Order, any requests for additional relief or any adversary

proceeding brought in and through these chapter 15 cases, and any request by an entity for relief

from the provisions of this Order, for cause shown, that is properly commenced and within the

jurisdiction of this Court; and it is further

         12.    ORDERED, that, notwithstanding Bankruptcy Rule 7062, made applicable to

these chapter 15 cases by Bankruptcy Rule 1018, the terms and conditions of this Order shall be

immediately effective and enforceable upon its entry, and upon its entry, this Order shall become

final and appealable.

Dated:

November 22, 2016
New York, New York
                                                    /S/ Shelley C. Chapman
                                                    Honorable Shelley C. Chapman
                                                    United States Bankruptcy Judge




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                               UNITED STATES
                   SECURITIES AND EXCHANGE COMMISSION
                                                            Washington, D.C. 20549

                                                              FORM 10-Q
(Mark One)
☒     QUARTERLY REPORT PURSUANT TO SECTION 13 OR 15(d) OF THE SECURITIES
      EXCHANGE ACT OF 1934
                                            For the quarterly period ended September 30, 2016

☐     TRANSITION REPORT PURSUANT TO SECTION 13 OR 15(d) OF THE SECURITIES
      EXCHANGE ACT OF 1934
                                                 For the transition period from to                   to
                                                        Commission File Number: 001-35076


         NAVIDEA BIOPHARMACEUTICALS, INC.
                                            (Exact name of registrant as specified in its charter)

                              Delaware                                                                        XX-XXXXXXX
                      (State or other jurisdiction of                                                         (IRS Employer
                     incorporation or organization)                                                         Identification No.)

         5600 Blazer Parkway, Suite 200, Dublin, Ohio                                                         43017-7550
                 (Address of principal executive offices)                                                      (Zip Code)

                                                                  (614) 793-7500
                                                  (Registrant’s telephone number, including area code)
                                   (Former name, former address and former fiscal year, if changed since last report)


Indicate by check mark whether the registrant (1) has filed all reports required to be filed by Section 13 or 15(d) of the Securities
Exchange Act of 1934 during the preceding 12 months (or for such shorter period that the registrant was required to file such reports),
and (2) has been subject to such filing requirements for the past 90 days. Yes ☒ No ☐
Indicate by check mark whether the registrant has submitted electronically and posted on its corporate Web site, if any, every
Interactive Data File required to be submitted and posted pursuant to Rule 405 of Regulation S-T during the preceding 12 months (or
for such shorter period that the registrant was required to submit and post such files). Yes ☒ No ☐
Indicate by check mark whether the registrant is a large accelerated filer, an accelerated filer, a non-accelerated filer, or a smaller
reporting company. See the definitions of “large accelerated filer,” “accelerated filer” and “smaller reporting company” in Rule 12b-2
of the Exchange Act.

Large accelerated filer ☐                                                                                               Accelerated filer         ☒
Non-accelerated filer ☐                                                                                                 Smaller reporting company ☐
Indicate by check mark whether the registrant is a shell company (as defined in Rule 12-b-2 of the Act.) Yes ☐ No ☒
Indicate the number of shares outstanding of each of the issuer’s classes of common stock, as of the latest practicable date: 155,762,729
shares of common stock, par value $.001 per share (as of the close of business on November 1, 2016).
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9.   Notes Payable
     Platinum
     In July 2012, we entered into an agreement with Platinum to provide us with a credit facility of up to $50 million. Following the
     approval of Lymphoseek, Platinum was committed under the terms of the agreement to extend up to $35 million in debt
     financing to the Company. During the nine-month period ended September 30, 2016, $814,000 of interest was compounded and
     added to the balance of the Platinum Note. In accordance with the terms of a Section 16(b) Settlement Agreement, Platinum
     agreed to forgive interest owed on the credit facility in an amount equal to 6%, effective July 1, 2016. As of September 30, 2016,
     the outstanding principal balance of the Platinum Note was approximately $9.3 million, with $27.3 million currently available
     under the credit facility. An additional $15 million is potentially available under the credit facility on terms to be
     negotiated. However, based on Platinum’s recent filing for Chapter 15 bankruptcy protection, Navidea has substantial doubt
     about Platinum’s ability to fund future draw requests under the credit facility.
     The Platinum Note is reflected on the consolidated balance sheets at its estimated fair value, which includes the estimated fair
     value of the embedded conversion option of $1.3 million. During the three-month periods ended September 30, 2016 and 2015,
     changes in the estimated fair value of the Platinum conversion option were increases of $839,000 and $1.6 million, respectively,
     and were recorded as non-cash changes in the fair value of the conversion option. During the nine-month periods ended
     September 30, 2016 and 2015, changes in the estimated fair value of the Platinum conversion option were a decrease of $1.8
     million and an increase of $1.7 million, respectively, and were recorded as non-cash changes in the fair value of the conversion
     option. The estimated fair value of the Platinum Note was $10.5 million as of September 30, 2016.
     The Platinum Loan Agreement includes a covenant that results in an event of default on the Platinum Loan Agreement upon
     default on the CRG Loan Agreement. As discussed above, the Company is maintaining its position that CRG’s alleged claims do
     not constitute events of default under the CRG Loan Agreement and believes it has defenses against such claims. The Company
     has obtained a waiver from Platinum confirming that we are not in default under the Platinum Loan Agreement as a result of the
     alleged default on the CRG Loan Agreement and as such, we are currently in compliance with all covenants under the Platinum
     Loan Agreement.

     Capital Royalty Partners II, L.P.
     In May 2015, Navidea and its subsidiary Macrophage Therapeutics, Inc., as guarantor, executed a Term Loan Agreement with
     CRG in its capacity as a lender and as control agent for other affiliated lenders party to the CRG Loan Agreement (collectively,
     the Lenders) in which the Lenders agreed to make a term loan to the Company in the aggregate principal amount of $50 million
     (the CRG Term Loan), with an additional $10 million in loans to be made available upon the satisfaction of certain conditions
     stated in the CRG Loan Agreement. During the nine-month period ended September 30, 2016, $553,000 of interest was
     compounded and added to the balance of the CRG Term Loan. Pursuant to a notice of default letter sent to Navidea by CRG, the
     Company stopped compounding interest in the second quarter of 2016 and began recording accrued interest. As of
     September 30, 2016, $4.7 million of accrued interest is included in accrued liabilities and other on the consolidated balance
     sheets. As of September 30, 2016, the outstanding principal balance of the CRG Term Loan was $51.7 million.
     In connection with the CRG Loan Agreement, the Company recorded a debt discount related to lender fees and other costs
     directly attributable to the CRG Loan Agreement totaling $2.2 million, including a $1.0 million facility fee which is payable at
     the end of the term or when the loan is repaid in full. A long-term liability was recorded for the $1.0 million facility fee. The
     debt discount was being amortized as non-cash interest expense using the effective interest method over the term of the CRG
     Loan Agreement. As further described below, the facility fee was fully paid off and the debt discount was accelerated and fully
     amortized in the second quarter of 2016.
     The CRG Term Loan is collateralized by a security interest in substantially all of the Company's assets. In addition, the CRG Loan
     Agreement requires that the Company adhere to certain affirmative and negative covenants, including financial reporting
     requirements and a prohibition against the incurrence of indebtedness, or creation of additional liens, other than as specifically
     permitted by the terms of the CRG Loan Agreement. The Lenders may accelerate the payment terms of the CRG Loan Agreement
     upon the occurrence of certain events of default set forth therein, which include the failure of the Company to make timely payments
     of amounts due under the CRG Loan Agreement, the failure of the Company to adhere to the covenants set forth in the CRG Loan
     Agreement, and the insolvency of the Company. The covenants of the CRG Loan Agreement include a covenant that the Company
     shall have EBITDA of no less than $5 million in each calendar year during the term or revenues from sales of Lymphoseek in each
     calendar year during the term of at least $22.5 million in 2016, with the target minimum revenue increasing in each year thereafter
     until reaching $45 million in 2020. However, if the Company were to fail to meet the applicable minimum EBITDA or revenue
     target in any calendar year, the CRG Loan Agreement provides the Company a cure right if it raises 2.5 times the EBITDA or
     revenue shortfall in equity or subordinated debt and deposits such funds in a separate blocked account. Additionally, the Company
     must maintain liquidity, defined as the balance of unencumbered cash and permitted cash equivalent
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                                                            SIGNATURES

Pursuant to the requirements of the Securities Exchange Act of 1934, the registrant has duly caused this report to be signed on its
behalf by the undersigned, thereunto duly authorized.

                                                                                  NAVIDEA BIOPHARMACEUTICALS, INC.
                                                                                  (the Company)
                                                                                  November 9, 2016

                                                                                  By:/s/ Michael M. Goldberg

                                                                                  Michael M. Goldberg, M.D.
                                                                                  President and Chief Executive Officer
                                                                                  (duly authorized officer; principal executive officer)

                                                                                 By:/s/ Jed A. Latkin

                                                                                 Jed A. Latkin
                                                                                 Interim Chief Operating Officer
                                                                                 (duly authorized officer; principal financial and
                                                                                 accounting officer)



                                                                   50
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                     Exhibit 12
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                                                   SCHEDULE 14A INFORMATION

                                           Proxy Statement Pursuant to Section 14(a) of the
                                          Securities Exchange Act of 1934 (Amendment No. )

Filed by the Registrant x

Filed by a Party other than the Registrant ¨

Check the appropriate box:
x     Preliminary Proxy Statement
¨     Confidential, for Use of the Commission Only (as permitted by Rule 14a-6(e)(2))
¨     Definitive Proxy Statement
¨     Definitive Additional Materials
¨     Soliciting Material under §240.14a-12

                                            NAVIDEA BIOPHARMACEUTICALS, INC.
                                           (Name of Registrant as Specified In Its Charter)

                                (Name of Person(s) Filing Proxy Statement, if other than the Registrant)

Payment of Filing Fee (Check the appropriate box):
¨    No fee required.
x    Fee computed on table below per Exchange Act Rules 14a-6(i)(1) and 0-11

      (1)     Title of each class of securities to which transaction applies:
              Not applicable

      (2)     Aggregate number of securities to which transaction applies:
              Not applicable

      (3)     Per unit price or other underlying value of transaction computed pursuant to Exchange Act Rule 0-11 (Set forth the
              amount on which the filing fee is calculated and state how it was determined):
              Not applicable

      (3)     Proposed maximum aggregate value of transaction:
              $100,100,000

      (4)     Total fee paid:
              $11,601.59

x     Fee paid previously with preliminary materials.

¨     Check box if any part of the fee is offset as provided by Exchange Act Rule 0-11(a)(2) and identify the filing for which the
      offsetting fee was paid previously. Identify the previous filing by registration statement number, or the Form or Schedule and the
      date of its filing.

      (1)     Amount Previously Paid:
      (2)     Form, Schedule or Registration Statement No.:
      (3)     Filing Party:
      (4)     Date Filed:
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                                                        Pg 75 of 102


                                           SPECIAL MEETING OF STOCKHOLDERS

                                                                                                                   January _____, 2017

Dear Stockholder:

          You are cordially invited to attend a Special Meeting of Stockholders of Navidea Biopharmaceuticals, Inc., which will be held
at 9:00 a.m., Eastern Standard Time, on February ___, 2017, at the Hilton Garden Inn, 70 Challenger Road, Ridgefield Park, NJ 07660,
201-641-2024. The matters on the meeting agenda are described in the Notice of Special Meeting of Stockholders and proxy statement
which accompany this letter.

         We hope you will be able to attend the meeting, but regardless of your plans, we ask that you please complete, sign, and date
the enclosed proxy card and return it in the envelope provided, or follow the instructions on the proxy card to vote online or by
telephone, so that your shares will be represented at the meeting.

                                                                    Very truly yours,

                                                                    /s/ Michael M. Goldberg, M.D.

                                                                    Michael M. Goldberg, M.D.
                                                                    President and Chief Executive Officer
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                                            NAVIDEA BIOPHARMACEUTICALS, INC.
                                                 5600 Blazer Parkway, Suite 200
                                                      Dublin, Ohio 43017

                                    NOTICE OF SPECIAL MEETING OF STOCKHOLDERS

To the Stockholders of
NAVIDEA BIOPHARMACEUTICALS, INC.:

         A Special Meeting of the Stockholders of Navidea Biopharmaceuticals, Inc., a Delaware corporation (the “Company” or
“Navidea”), will be held at the Hilton Garden Inn, 70 Challenger Road, Ridgefield Park, NJ 07660, 201-641-2024, on February ____,
2017, at 9:00 a.m., Eastern Standard Time, for the following purposes:

         1.        To authorize the sale (the “Asset Sale”) by Navidea of its assets used in connection with Navidea’s Lymphoseek®
                   business in North America, as defined in and pursuant to the Asset Purchase Agreement, dated as of November 23,
                   2016, by and between Navidea and Cardinal Health 414, LLC, as more fully described in the enclosed proxy
                   statement;

         2.        To adjourn the Special Meeting to a later date, if necessary or appropriate, to allow for the solicitation of additional
                   proxies in favor of the proposal to approve the Asset Sale if there are insufficient votes to approve the Asset Sale;
                   and

         3.        To transact such other business as may properly come before the meeting or any adjournment thereof.

         The Board of Directors has fixed the close of business on January 23, 2017, as the record date for the determination of
stockholders entitled to notice of and to vote at the Special Meeting and any adjournment thereof. A list of stockholders will be
available for examination by any stockholder at the Special Meeting and for a period of 10 days before the Special Meeting at the
executive offices of the Company.

       Important Notice Regarding the Availability of Proxy Materials for the Special Meeting of Stockholders to be Held on
February ____, 2017: The proxy statement is available at www.proxyvote.com.

         Whether or not you plan to attend the Special Meeting, please complete, sign, and date the enclosed proxy card and
return it in the envelope provided, or follow the instructions on the proxy card to take advantage of the opportunity to vote
your proxy online or by telephone.

                                                                     By Order of the Board of Directors

                                                                      /s/ Michael M. Goldberg, M.D.

                                                                     Michael M. Goldberg, M.D.
                                                                     President and Chief Executive Officer

Dublin, Ohio
January _____, 2017
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·   we agreed to sell all of our assets used, held for use, or intended to be used in operating the Business in the Territory
    (giving effect to the license-back described below and excluding certain assets specifically retained by the Company),
    such assets consisting primarily of, without limitation, (i) intellectual property used in or reasonably necessary for the
    conduct of the Business, (ii) inventory of, and certain customer, distribution, and product manufacturing agreements
    related to, the Business, (iii) all product registrations related to the Product, including the new drug application approved
    by the U.S. Food and Drug Administration (“FDA”) for the Product and all regulatory submissions in the United States
    that have been made with respect to the Product and all Health Canada regulatory submissions and, in each case, all files
    and records related thereto, (iv) all related clinical trials and clinical trial authorizations and all files and records related
    thereto; and (v) all right, title and interest in and to the Product (collectively, the “Acquired Assets”).

·   in exchange for the Acquired Assets, Cardinal Health 414 agreed to: (i) make a cash payment to us at closing of
    $80,000,000 (reduced by an aggregate of approximately $65.0 million of indebtedness to be repaid to Capital Royalty
    Partners II, L.P. (“CRG”) and Platinum-Montaur Life Sciences LLC and its affiliates (“Platinum”) on behalf of the
    Company, the amount by which, if any, transferred Product inventory is less than $6 million, and estimated transaction
    costs of $600,000); (ii) assume certain liabilities of the Company associated with the Product as specified in the Asset
    Purchase Agreement; and (iii) make periodic earnout payments (to consist of contingent payments and milestone
    payments which, if paid, will be treated as additional purchase price) to us based on the “Net Sales” derived from the
    purchased Product, subject, in each case, to Cardinal Health 414’s right to off-set. In no event shall the sum of all earnout
    payments, as further described below, exceed an aggregate of $230 million. “Net Sales” is defined as gross amounts
    invoiced to third parties for the Product sold or leased in the Territory for current approved indications by the FDA and
    similar indications approved by the FDA in the future by Cardinal Health 414, its licensees, sublicensees and affiliates, or
    in any combination thereof (other than the Company and its sublicensees and affiliates), less the sum of the following
    actual and customary deductions where applicable and separately listed: cash, trade, or quantity discounts or rebates (as
    allowed under applicable law); sales tax, use tax, tariff, import/export duties or other excise taxes imposed on particular
    sales (except for value-added and income taxes imposed on the sales of Product in foreign countries); credits to customers
    because of rejections or returns, or transfers of Product without charge for charitable, promotional, non-clinical, clinical
    research or regulatory purposes. For purposes of calculating Net Sales, transfers to Cardinal Health 414’s licensees,
    sublicensees or affiliates (other than the Company and its sublicensees and affiliates) of Product without an invoice for (i)
    end use (but not resale) by such licensee, sublicensee or affiliate shall be treated as sales by Cardinal Health 414 at
    Cardinal Health 414’s list price for the Product or (ii) resale by such licensee, sublicensee or affiliate shall be treated as
    sales at the list price of such sublicensee or affiliate.

·   during the period commencing on the date of closing of the Asset Sale and ending on the earlier of (i) June 30, 2026 or
    (ii) such time as $160,000,000 in contingent payments have been earned by the Company (the “Contingent Payment
    Period”), Cardinal Health 414 will pay to the Company contingent payments in an amount equal to eight percent of the
    Net Sales for each measuring year, or each fiscal year ending June 30th through and including June 30, 2026; provided
    that the first measuring year shall be from the closing of the Asset Sale through and including June 30, 2017. In the case
    of contingent payments to be made with respect to the first three measuring years during the Contingent Payment Period,
    Cardinal Health 414 will make such payments on a quarterly basis (equal to the greater of (a) eight percent of Net Sales
    during the applicable fiscal quarter, or (b) $1,675,000) to the Company within 30 days following the end of each fiscal
    quarter during the applicable measuring year. Notwithstanding the foregoing, with respect to the first measuring year, the
    minimum contingent payment will be pro rated based on a fraction, the numerator of which equals the number of days
    elapsed between the closing of the Asset Sale through and including June 30, 2017 and the denominator of which equals
    365, and, to the extent such pro ration results in the Company receiving less than the minimum contingent payment for
    such first measuring period, Cardinal Health 414 will pay the Company a “catch-up contingent payment” in an amount
    equal to the difference between what the Company received and the minimum contingent payment for such first
    measuring period within 30 days following the end of the second fiscal quarter of the fourth measuring year.
    Notwithstanding the foregoing, if the contingent payment in any of the first three measuring years would be less than $6.7
    million (as pro rated for the first measuring year) based upon the calculation of Net Sales, then the contingent payment to
    the Company for the applicable measuring year will be deemed to be $6.7 million (as pro rated for the first measuring
    year) (each such contingent payment during the first three measuring years and the catch up contingent payment,
    collectively being the “guaranteed payments”), subject to Cardinal Health 414’s right to off-set the difference between
    $6.7 million and the amount that would have otherwise been payable in the absence of this minimum threshold against
    any future earnout payments that are not guaranteed. In no event will the sum of all contingent payments exceed
    $160,000,000 (of which $20,100,000 are guaranteed payments), subject, in each case, to Cardinal Health 414’s right to
    off-set.
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Parties to the Asset Sale (page 19)

    ·   Navidea Biopharmaceuticals, Inc. is a biopharmaceutical company focused on the development and commercialization of
        precision immunodiagnostic agents and immunotherapeutics. Navidea is developing multiple precision-targeted products
        based on our Manocept™ platform to help identify the sites and pathways of undetected disease and enable better diagnostic
        accuracy, clinical decision-making, targeted treatment and, ultimately, patient care. Navidea’s Manocept platform is predicated
        on the ability to specifically target the CD206 mannose receptor expressed on activated macrophages. The Manocept platform
        serves as the molecular backbone of the Product (technetium Tc 99m tilmanocept), the first product developed and
        commercialized by Navidea based on the platform. After consummation of the Asset Sale, Navidea intends to distribute the
        Product in Europe, where the Product received European approval in imaging and intraoperative detection of sentinel lymph
        nodes in patients with melanoma, breast cancer or localized squamous cell carcinoma of the oral cavity. Navidea also intends
        to continue developing its remaining candidates using the Manocept platform.

    ·   Cardinal Health, 414, LLC is a wholly-owned subsidiary of Cardinal Health, a global integrated healthcare services and
        products company providing customized solutions for hospital systems, pharmacies, ambulatory surgery centers, clinical
        laboratories and physician offices worldwide. Cardinal Health 414 is the exclusive distributor of the Product in the United
        States.

Reasons for the Asset Sale (page 24)

    ·   In arriving at its determination that the Asset Sale is advisable to, and in the best interests of, the Company and our
        stockholders, our Board of Directors considered various factors, including without limitation, the need to pay off or refinance
        the Company’s outstanding debt obligations to CRG, as discussed below. For the material factors considered by our Board of
        Directors in reaching its decision to adopt and approve the Asset Sale and the Asset Purchase Agreement, see “The Asset Sale
        —Reasons for the Asset Sale,” beginning on page 24.

Risk Factors (page 15)

    ·   In evaluating the Asset Sale and Asset Purchase Agreement, you should carefully read this proxy statement and especially
        consider the factors discussed in the section entitled “Risk Factors” beginning on page 15 of this proxy statement.

Interests of Our Directors and Executive Officers in the Asset Sale (page 27)

    ·   In considering the recommendation of our Board of Directors to vote for the proposal to adopt and approve the Asset Sale,
        you should be aware that some of our directors and executive officers may have personal interests in the Asset Sale that are, or
        may be, different from, or in addition to, your interests. See “Interests of Our Directors and Executive Officers in the Asset
        Sale,” beginning on page 27.

    ·   Dr. Michael Goldberg, our President and Chief Executive Officer, previously managed a portfolio of funds for Platinum from
        May 2007 until December 2013. Dr. Goldberg was not a member of the management of any of the Platinum entities; rather he
        solely had control over the trading activities of a portfolio of health care investments from funds allocated to him from the
        Platinum funds. Dr. Goldberg was responsible for all investments made by Platinum in the Company and for the trading in the
        Company’s securities up until he joined the Company’s Board of Directors in November 2013, at which time he relinquished
        all control over the trading of the Company’s securities held by all of the Platinum entities. On December 13, 2013, Dr.
        Goldberg formally separated from Platinum and had no further role in managing their health care portfolio. As part of his
        separation from Platinum, Dr. Goldberg entered into a settlement agreement, dated March 28, 2014, and amended on June 11,
        2015, with Platinum Partners Value Arbitrage Fund pursuant to which Dr. Goldberg was entitled to receive a beneficial
        ownership interest in 15% (1) of all securities held by Platinum at the time of his separation from Platinum which included,
        without limitation, warrants to purchase the Company’s common stock, and (2) of the drawn amounts from the Platinum debt
        facility. Dr. Goldberg and Platinum are presently in the process of effectuating the transfer of ownership in such securities to
        Dr. Goldberg. In furtherance of the foregoing, on October 17, 2016, Platinum transferred warrants to acquire an aggregate of
        5,411,850 shares of our common stock to Dr. Goldberg. The Company has received notice that Dr. Goldberg intends to
        exercise such warrants prior to the record date. The Company has been advised that a portion of its outstanding debt to
        Platinum, as evidenced by a third amended and restated promissory note, is intended to be transferred to Dr. Goldberg upon
        consummation of the Asset Sale. That part of the Platinum debt not transferred to Dr. Goldberg will be paid-off by us using
        proceeds of the Asset Sale as the Asset Purchase Agreement requires that, at closing, all indebtedness of the Company be paid
        in full out of the initial closing cash payment, which includes debts payable to CRG, Platinum and Dr. Goldberg. The
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Company discussed obtaining a waiver of such requirement 102respect to any Platinum debt transferred to Dr. Goldberg.
Cardinal Health 414 has orally agreed to waive such requirement provided there is no security interest in the assets being
transferred to Cardinal Health 414. Dr. Goldberg has agreed to not require repayment by the Company of any debt transferred
to him and has agreed to release any financial covenants and securitization requirements. As of December 31, 2016, the
outstanding portion of Platinum’s debt intended to be transferred to Dr. Goldberg was $1,423,173.35, which accrues interest at
an annual rate of 14.125%, compounded monthly. In accordance with the terms of a Section 16(b) Settlement Agreement,
Platinum agreed to forgive interest owed on the credit facility in an amount equal to 6%, effective July 1, 2016, making the
effective annual interest rate 8.125% as of December 31, 2016.


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    ·    the expectation that a portion of the consideration we will receive in connection with the Asset Sale will be subject to certain
         U.S. federal, state, and local income and other taxes;

    ·    the risk that unforeseen liabilities and expenses may be incurred that may limit the ultimate amount of net proceeds from the
         Asset Sale; and

    ·    the significant costs involved in consummating the Asset Sale, including legal and accounting and other costs, which we
         estimate to be approximately $600,000.

          After careful and due consideration, our Board of Directors concluded that overall, the risks, uncertainties, restrictions and
potentially negative factors associated with the Asset Sale were outweighed by the potential benefits of the Asset Sale, and that many
of these risks could be managed or mitigated prior to the consummation of the Asset Sale or were unlikely to have a material adverse
effect on our Company.

         The foregoing information and factors considered by our Board of Directors are not intended to be exhaustive. In view of the
variety of factors and the amount of information considered, our Board of Directors did not find it practicable to, and did not, quantify,
rank or otherwise assign relative weights to the specific factors it considered in approving the Asset Sale and the Asset Purchase
Agreement. In addition, individual members of our Board of Directors may have given different weights to different factors. Our Board
of Directors considered all of these factors as a whole, and overall considered them to be favorable to support its determination.

Interests of Our Directors and Executive Officers in the Asset Sale

           In considering the recommendation of our Board of Directors to vote for the proposal to adopt and approve the Asset Sale,
you should be aware that some of our directors and executive officers may have personal interests in the Asset Sale that are, or may be,
different from, or in addition to, your interests. Dr. Michael Goldberg, our President and Chief Executive Officer, previously managed a
portfolio of funds for Platinum from May 2007 until December 2013. Dr. Goldberg was not a member of the management of any of the
Platinum entities, rather he solely had control over the trading activities of a portfolio of health care investments from funds allocated
to him from the Platinum funds. Dr. Goldberg was responsible for all investments made by Platinum in Navidea and for the trading in
Navidea securities up until he joined Navidea’s Board of Directors in November 2013, at which time he relinquished all control over
the trading of Navidea’s securities held by all of the Platinum entities. On December 13, 2013, Dr. Goldberg formally separated from
Platinum and had no further role in managing their health care portfolio. As part of his separation from Platinum, Dr. Goldberg entered
into a settlement agreement, dated March 28, 2014, and amended on June 11, 2015, with Platinum Partners Value Arbitrage Fund
pursuant to which Dr. Goldberg was entitled to receive a beneficial ownership interest in 15% (1) of all securities held by Platinum at
the time of his separation from Platinum which included, without limitation, warrants to purchase the Company’s common stock, and
(2) of the drawn amounts from the Platinum debt facility. Dr. Goldberg and Platinum are presently in the process of effectuating the
transfer of ownership in such securities to Dr. Goldberg. In furtherance of the foregoing, on October 17, 2016, Platinum transferred
warrants to acquire an aggregate of 5,411,850 shares of our common stock to Dr. Goldberg. The Company has received notice that Dr.
Goldberg intends to exercise such warrants prior to the record date. The Company has been advised that a portion of its outstanding
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consummation of the Asset Sale. That part of the Platinum debt not transferred to Dr. Goldberg will be paid-off by us using proceeds of
the Asset Sale as the Asset Purchase Agreement requires that, at closing, all indebtedness of the Company be paid in full out of the
initial closing cash payment, which includes debts payable to CRG, Platinum and Dr. Goldberg. The Company discussed obtaining a
waiver of such requirement with respect to any Platinum debt transferred to Dr. Goldberg. Cardinal Health 414 has orally agreed to
waive such requirement provided there is no security interest in the assets being transferred to Cardinal Health 414. Dr. Goldberg has
agreed to not require repayment by the Company of any debt transferred to him and has agreed to release any financial covenants and
securitization requirements. As of December 31, 2016, the outstanding portion of Platinum’s debt intended to be transferred to Dr.
Goldberg was $1,423,173.35, which accrues interest at an annual rate of 14.125%, compounded monthly. In accordance with the terms
of a Section 16(b) Settlement Agreement, Platinum agreed to forgive interest owed on the credit facility in an amount equal to 6%,
effective July 1, 2016, making the effective annual interest rate 8.125% as of December 31, 2016.


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                                                   SCHEDULE 14A INFORMATION

                                          Proxy Statement Pursuant to Section 14(a) of the
                                         Securities Exchange Act of 1934 (Amendment No. 2)

Filed by the Registrant x

Filed by a Party other than the Registrant ¨

Check the appropriate box:
¨     Preliminary Proxy Statement
¨     Confidential, for Use of the Commission Only (as permitted by Rule 14a-6(e)(2))
x     Definitive Proxy Statement
¨     Definitive Additional Materials
¨     Soliciting Material under §240.14a-12

                                            NAVIDEA BIOPHARMACEUTICALS, INC.
                                           (Name of Registrant as Specified In Its Charter)

                                (Name of Person(s) Filing Proxy Statement, if other than the Registrant)

Payment of Filing Fee (Check the appropriate box):
¨    No fee required.
x    Fee computed on table below per Exchange Act Rules 14a-6(i)(1) and 0-11

      (1)     Title of each class of securities to which transaction applies:
              Not applicable

      (2)     Aggregate number of securities to which transaction applies:
              Not applicable

      (3)     Per unit price or other underlying value of transaction computed pursuant to Exchange Act Rule 0-11 (Set forth the
              amount on which the filing fee is calculated and state how it was determined):
              Not applicable

      (3)     Proposed maximum aggregate value of transaction:
              $100,100,000

      (4)     Total fee paid:
              $11,601.59

x     Fee paid previously with preliminary materials.

¨     Check box if any part of the fee is offset as provided by Exchange Act Rule 0-11(a)(2) and identify the filing for which the
      offsetting fee was paid previously. Identify the previous filing by registration statement number, or the Form or Schedule and the
      date of its filing.

      (1)     Amount Previously Paid:
      (2)     Form, Schedule or Registration Statement No.:
      (3)     Filing Party:
      (4)     Date Filed:
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                                           SPECIAL MEETING OF STOCKHOLDERS

                                                                                                                      February 8, 2017

Dear Stockholder:

          You are cordially invited to attend a Special Meeting of Stockholders of Navidea Biopharmaceuticals, Inc., which will be held
at 9:00 a.m., Eastern Standard Time, on March 2, 2017, at the Hilton Garden Inn, 70 Challenger Road, Ridgefield Park, NJ 07660, 201-
641-2024. The matters on the meeting agenda are described in the Notice of Special Meeting of Stockholders and proxy statement
which accompany this letter.

         We hope you will be able to attend the meeting, but regardless of your plans, we ask that you please complete, sign, and date
the enclosed proxy card and return it in the envelope provided, or follow the instructions on the proxy card to vote online or by
telephone, so that your shares will be represented at the meeting.

                                                                    Very truly yours,

                                                                    /s/ Michael M. Goldberg, M.D.

                                                                    Michael M. Goldberg, M.D.
                                                                    President and Chief Executive Officer
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                                            NAVIDEA BIOPHARMACEUTICALS, INC.
                                                 5600 Blazer Parkway, Suite 200
                                                      Dublin, Ohio 43017

                                    NOTICE OF SPECIAL MEETING OF STOCKHOLDERS

To the Stockholders of
NAVIDEA BIOPHARMACEUTICALS, INC.:

          A Special Meeting of the Stockholders of Navidea Biopharmaceuticals, Inc., a Delaware corporation (the “Company” or
“Navidea”), will be held at the Hilton Garden Inn, 70 Challenger Road, Ridgefield Park, NJ 07660, 201-641-2024, on March 2, 2017,
at 9:00 a.m., Eastern Standard Time, for the following purposes:

         1.        To authorize the sale (the “Asset Sale”) by Navidea of its assets used in connection with Navidea’s Lymphoseek®
                   business in North America, as defined in and pursuant to the Asset Purchase Agreement, dated as of November 23,
                   2016, by and between Navidea and Cardinal Health 414, LLC, as more fully described in the enclosed proxy
                   statement;

         2.        To adjourn the Special Meeting to a later date, if necessary or appropriate, to allow for the solicitation of additional
                   proxies in favor of the proposal to approve the Asset Sale if there are insufficient votes to approve the Asset Sale;
                   and

         3.        To transact such other business as may properly come before the meeting or any adjournment thereof.

         The Board of Directors has fixed the close of business on January 23, 2017, as the record date for the determination of
stockholders entitled to notice of and to vote at the Special Meeting and any adjournment thereof. A list of stockholders will be
available for examination by any stockholder at the Special Meeting and for a period of 10 days before the Special Meeting at the
executive offices of the Company.

       Important Notice Regarding the Availability of Proxy Materials for the Special Meeting of Stockholders to be Held on
March 2, 2017: The proxy statement is available at www.proxyvote.com.

         Whether or not you plan to attend the Special Meeting, please complete, sign, and date the enclosed proxy card and
return it in the envelope provided, or follow the instructions on the proxy card to take advantage of the opportunity to vote
your proxy online or by telephone.

                                                                     By Order of the Board of Directors

                                                                      /s/ Michael M. Goldberg, M.D.

                                                                     Michael M. Goldberg, M.D.
                                                                     President and Chief Executive Officer

Dublin, Ohio
February 8, 2017
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                                           NAVIDEA BIOPHARMACEUTICALS, INC.
                                                5600 Blazer Parkway, Suite 200
                                                     Dublin, Ohio 43017

                                           SPECIAL MEETING OF STOCKHOLDERS

                                                          MARCH 2, 2017

                                                       PROXY STATEMENT

                                                       Dated February 8, 2017

                                                         INTRODUCTION

         This proxy statement is being furnished to the holders of common stock, $0.001 par value per share (“Common Stock”), of
Navidea Biopharmaceuticals, Inc., a Delaware corporation, in connection with the solicitation of proxies for use at a Special Meeting
of Stockholders to be held at 9:00 a.m., Eastern Standard Time, on March 2, 2017, at the Hilton Garden Inn, 70 Challenger Road,
Ridgefield Park, NJ 07660, 201-641-2024, and at any adjournment of that meeting. This proxy statement is first being mailed to
stockholders on or about February 8, 2017.

          In this proxy statement the terms “Navidea,” “Company,” “we,” “our,” “ours,” and “us” refer to Navidea Biopharmaceuticals,
Inc. and its subsidiaries. The term “Asset Purchase Agreement” refers to the Asset Purchase Agreement, dated as of November 23,
2016, by and between the Company and Cardinal Health 414, LLC, as it may be amended, restated, modified or superseded from time
to time in accordance with its terms. The terms “Lymphoseek” and the “Product” refer to the Company’s radioactive diagnostic agent
marketed under the Lymphoseek® trademark for current approved indications by the FDA and similar indications approved by the
FDA in the future. The Company develops, manufactures and commercializes a product used for (1) lymphatic mapping, (2) lymph
node biopsy, and (3) the diagnosis of metastatic spread to lymph nodes for the staging of cancer (the “Business”), including the
Product. The term “Asset Sale” refers to the proposed sale of the assets of the Company used, held for use or intended to be used in
connection with the operation of the Business in Canada, Mexico and the United States (including their respective territories and
possessions) (the “Territory”), as contemplated by the Asset Purchase Agreement. The term “Cardinal Health 414” refers to Cardinal
Health 414, LLC, a wholly-owned subsidiary of Cardinal Health, Inc. (“Cardinal Health”), an Ohio corporation with common stock
listed on the New York Stock Exchange under the symbol “CAH.” Each of Navidea and Cardinal Health 414 are sometimes referred to
in this proxy statement as a party, or collectively as the parties.

                                                             SUMMARY

         This summary highlights selected information contained in this proxy statement and does not contain all of the information
that may be important to you. We urge you to read carefully this proxy statement in its entirety, as well as the appendices. For your
convenience, we have included cross references to direct you to a more complete description of the topics described in this summary.
Additional, important information is also contained in the documents incorporated by reference into this proxy statement; see the
section entitled “Where You Can Find More Information; Incorporation by Reference.”

The Asset Sale (page 19)

    ·   On November 23, 2016, the members of our Board of Directors adopted and unanimously approved the Asset Sale pursuant to
        the Asset Purchase Agreement, a copy of which is included as Appendix A to this proxy statement. Please read it carefully.
        Pursuant to the terms of the Asset Purchase Agreement, among other things:


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·   we agreed to sell all of our assets used, held for use, or intended to be used in operating the Business in the Territory
    (giving effect to the license-back described below and excluding certain assets specifically retained by the Company),
    such assets consisting primarily of, without limitation, (i) intellectual property used in or reasonably necessary for the
    conduct of the Business, (ii) inventory of, and certain customer, distribution, and product manufacturing agreements
    related to, the Business, (iii) all product registrations related to the Product, including the new drug application approved
    by the U.S. Food and Drug Administration (“FDA”) for the Product and all regulatory submissions in the United States
    that have been made with respect to the Product and all Health Canada regulatory submissions and, in each case, all files
    and records related thereto, (iv) all related clinical trials and clinical trial authorizations and all files and records related
    thereto; and (v) all right, title and interest in and to the Product (collectively, the “Acquired Assets”).

·   in exchange for the Acquired Assets, Cardinal Health 414 agreed to: (i) make a cash payment to us at closing of
    $80,000,000 (reduced by an aggregate of approximately $65.5 million of indebtedness to be repaid to Capital Royalty
    Partners II, L.P. (“CRG”) and Platinum-Montaur Life Sciences LLC and its affiliates (“Platinum”) on behalf of the
    Company (less approximately $1.4 million if the transfer of debt to Dr. Goldberg occurs, as discussed under “Interests of
    Our Directors and Executive Officers in the Asset Sale” beginning on page 27), the amount by which, if any, transferred
    Product inventory is less than $6 million, and estimated transaction costs of $600,000); (ii) assume certain liabilities of
    the Company associated with the Product as specified in the Asset Purchase Agreement; and (iii) make periodic earnout
    payments (to consist of contingent payments and milestone payments which, if paid, will be treated as additional purchase
    price) to us based on the “Net Sales” derived from the purchased Product, subject, in each case, to Cardinal Health 414’s
    right to off-set. In no event shall the sum of all earnout payments, as further described below, exceed an aggregate of $230
    million. “Net Sales” is defined as gross amounts invoiced to third parties for the Product sold or leased in the Territory for
    current approved indications by the FDA and similar indications approved by the FDA in the future by Cardinal Health
    414, its licensees, sublicensees and affiliates, or in any combination thereof (other than the Company and its sublicensees
    and affiliates), less the sum of the following actual and customary deductions where applicable and separately listed:
    cash, trade, or quantity discounts or rebates (as allowed under applicable law); sales tax, use tax, tariff, import/export
    duties or other excise taxes imposed on particular sales (except for value-added and income taxes imposed on the sales of
    Product in foreign countries); credits to customers because of rejections or returns, or transfers of Product without charge
    for charitable, promotional, non-clinical, clinical research or regulatory purposes. For purposes of calculating Net Sales,
    transfers to Cardinal Health 414’s licensees, sublicensees or affiliates (other than the Company and its sublicensees and
    affiliates) of Product without an invoice for (i) end use (but not resale) by such licensee, sublicensee or affiliate shall be
    treated as sales by Cardinal Health 414 at Cardinal Health 414’s list price for the Product or (ii) resale by such licensee,
    sublicensee or affiliate shall be treated as sales at the list price of such sublicensee or affiliate.

·   during the period commencing on the date of closing of the Asset Sale and ending on the earlier of (i) June 30, 2026 or
    (ii) such time as $160,000,000 in contingent payments have been earned by the Company (the “Contingent Payment
    Period”), Cardinal Health 414 will pay to the Company contingent payments in an amount equal to eight percent of the
    Net Sales for each measuring year, or each fiscal year ending June 30th through and including June 30, 2026; provided
    that the first measuring year shall be from the closing of the Asset Sale through and including June 30, 2017. In the case
    of contingent payments to be made with respect to the first three measuring years during the Contingent Payment Period,
    Cardinal Health 414 will make such payments on a quarterly basis (equal to the greater of (a) eight percent of Net Sales
    during the applicable fiscal quarter, or (b) $1,675,000) to the Company within 30 days following the end of each fiscal
    quarter during the applicable measuring year. Notwithstanding the foregoing, with respect to the first measuring year, the
    minimum contingent payment will be pro rated based on a fraction, the numerator of which equals the number of days
    elapsed between the closing of the Asset Sale through and including June 30, 2017 and the denominator of which equals
    365, and, to the extent such pro ration results in the Company receiving less than the minimum contingent payment for
    such first measuring period, Cardinal Health 414 will pay the Company a “catch-up contingent payment” in an amount
    equal to the difference between what the Company received and the minimum contingent payment for such first
    measuring period within 30 days following the end of the second fiscal quarter of the fourth measuring year.
    Notwithstanding the foregoing, if the contingent payment in any of the first three measuring years would be less than $6.7
    million (as pro rated for the first measuring year) based upon the calculation of Net Sales, then the contingent payment to
    the Company for the applicable measuring year will be deemed to be $6.7 million (as pro rated for the first measuring
    year) (each such contingent payment during the first three measuring years and the catch up contingent payment,
    collectively being the “guaranteed payments”), subject to Cardinal Health 414’s right to off-set the difference between
    $6.7 million and the amount that would have otherwise been payable in the absence of this minimum threshold against
    any future earnout payments that are not guaranteed. In no event will the sum of all contingent payments exceed
    $160,000,000 (of which $20,100,000 are guaranteed payments), subject, in each case, to Cardinal Health 414’s right to
    off-set.
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    ·   during the Contingent Payment Period, subject to Cardinal Health 414’s right to off-set, Cardinal Health 414 will pay to
        the Company the following additional milestone payments upon the achievement by or on behalf of Cardinal Health 414
        of the following milestone events:

        o    $10,000,000, payable after the first fiscal year ending June 30th in which annual Net Sales exceed $100,000,000;
        o    $15,000,000, payable after the first fiscal year ending June 30th in which annual Net Sales exceed $200,000,000;
        o    $20,000,000, payable after the first fiscal year ending June 30th in which annual Net Sales exceed $300,000,000;
        o    $25,000,000, payable after the first fiscal year ending June 30th in which annual Net Sales exceed $400,000,000.

        In no event will the aggregate of all such milestone payments exceed $70,000,000, provided, however, that more than one
        milestone payment can be earned in the same fiscal year.

·   As part of the Asset Sale, the parties have agreed that simultaneous with the closing, subject to certain conditions, Cardinal
    Health 414 will enter into a license-back agreement, a “License Back,” with the Company pursuant to which Cardinal Health
    414 will grant to the Company a sublicensable (subject to conditions) and royalty-free license to use certain intellectual
    property rights included in the Acquired Assets and owned by Cardinal Health 414 as of the closing of the Asset Sale to the
    extent necessary for the Company to (i) on an exclusive basis, subject to certain conditions, develop, manufacture, market, sell
    and distribute new pharmaceutical and other products that are not Competing Products (as defined below), and (ii) on a non-
    exclusive basis, develop, manufacture, market, sell and distribute the Product throughout the world other than in the Territory.
    As used in the License-Back, a “Competing Product” is any pharmaceutical or other product that: (i) accumulates in lymphatic
    tissue or tumor-draining lymph nodes for the purpose of (a) lymphatic mapping or (b) identifying the existence, location or
    staging of cancer in a body; (ii) provides for or facilitates any test or procedure that is reasonably substitutable for any test or
    procedure provided for or facilitated by the Product; or (iii) is marketed for unapproved uses that allow such product to
    compete with the Product. Subject to the Company’s compliance with certain restrictions in the License-Back, the License-
    Back also restricts Cardinal Health 414 from using the intellectual property rights included in the Acquired Assets to develop,
    manufacture, market, sell or distribute any product other than the Product or other product that (a) accumulates in lymphatic
    tissue or tumor-draining lymph nodes for the purpose of (1) lymphatic mapping or (2) identifying the existence, location or
    staging of cancer in a body, or (b) provides for or facilitates any test or procedure that is reasonably substitutable for any test
    or procedure provided for or facilitated by the Product. Pursuant to the License-Back and subject to rights under existing
    agreements, Cardinal Health 414 will be provided with a right of first offer to market, sell and/or market any new products
    developed from the intellectual property rights licensed by Cardinal Health 414 to the Company by the License-Back.

·   Also as part of the Asset Sale, the Company shall grant to Cardinal Health 414 a five (5) year warrant to purchase up to 10
    million shares of the Company’s Common Stock at an exercise price of $1.50 per share, which warrant is subject to anti-
    dilution and other customary terms and conditions.

·   If all necessary approvals have been obtained or waived, including stockholder approval and any third party consents to the
    Asset Sale, we expect to complete the Asset Sale shortly after this Special Meeting scheduled for March 2, 2017.


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Parties to the Asset Sale (page 19)

    ·   Navidea Biopharmaceuticals, Inc. is a biopharmaceutical company focused on the development and commercialization of
        precision immunodiagnostic agents and immunotherapeutics. Navidea is developing multiple precision-targeted products
        based on our Manocept™ platform to help identify the sites and pathways of undetected disease and enable better diagnostic
        accuracy, clinical decision-making, targeted treatment and, ultimately, patient care. Navidea’s Manocept platform is predicated
        on the ability to specifically target the CD206 mannose receptor expressed on activated macrophages. The Manocept platform
        serves as the molecular backbone of the Product (technetium Tc 99m tilmanocept), the first product developed and
        commercialized by Navidea based on the platform. After consummation of the Asset Sale, Navidea intends to distribute the
        Product in Europe, where the Product received European approval in imaging and intraoperative detection of sentinel lymph
        nodes in patients with melanoma, breast cancer or localized squamous cell carcinoma of the oral cavity. Navidea also intends
        to continue developing its remaining candidates using the Manocept platform.

    ·   Cardinal Health, 414, LLC is a wholly-owned subsidiary of Cardinal Health, a global integrated healthcare services and
        products company providing customized solutions for hospital systems, pharmacies, ambulatory surgery centers, clinical
        laboratories and physician offices worldwide. Cardinal Health 414 is the exclusive distributor of the Product in the United
        States.

Reasons for the Asset Sale (page 24)

    ·   In arriving at its determination that the Asset Sale is advisable to, and in the best interests of, the Company and our
        stockholders, our Board of Directors considered various factors, including without limitation, the need to pay off or refinance
        the Company’s outstanding debt obligations to CRG, as discussed below. For the material factors considered by our Board of
        Directors in reaching its decision to adopt and approve the Asset Sale and the Asset Purchase Agreement, see “The Asset Sale
        —Reasons for the Asset Sale,” beginning on page 24.

Risk Factors (page 15)

    ·   In evaluating the Asset Sale and Asset Purchase Agreement, you should carefully read this proxy statement and especially
        consider the factors discussed in the section entitled “Risk Factors” beginning on page 15 of this proxy statement.

Interests of Our Directors and Executive Officers in the Asset Sale (page 27)

    ·   In considering the recommendation of our Board of Directors to vote for the proposal to adopt and approve the Asset Sale,
        you should be aware that some of our directors and executive officers may have personal interests in the Asset Sale that are, or
        may be, different from, or in addition to, your interests. See “Interests of Our Directors and Executive Officers in the Asset
        Sale” beginning on page 27.

    ·   Dr. Michael Goldberg, our President and Chief Executive Officer, previously managed a portfolio of funds for Platinum from
        May 2007 until December 2013. In 2011, he made an initial investment of $1.5 million in Platinum Partners Value Arbitrage
        Fund, L.P (“PPVA”) as a passive investor. Dr. Goldberg believes his current investment balance is approximately $1.4 million
        after giving effect to prior redemptions and reinvestments. Dr. Goldberg was not a member of the management of any of the
        Platinum entities; rather he solely had control over the trading activities of a portfolio of health care investments from funds
        allocated to him from the Platinum funds. Dr. Goldberg was responsible for all investments made by Platinum in the Company
        and for the trading in the Company’s securities up until he joined the Company’s Board of Directors in November 2013, at
        which time he relinquished all control over the trading of the Company’s securities held by all of the Platinum entities. On
        December 13, 2013, Dr. Goldberg formally separated from Platinum and had no further role in managing their health care
        portfolio. As part of his separation from Platinum, Dr. Goldberg entered into a settlement agreement, dated March 28, 2014,
        and amended on June 11, 2015, with PPVA pursuant to which Dr. Goldberg was entitled to receive a beneficial ownership
        interest in 15% of (1) all securities held by Platinum at the time of his separation from Platinum which included, without
        limitation, warrants to purchase the Company’s common stock, and (2) the drawn amounts from the Platinum debt facility. Dr.
        Goldberg and Platinum are presently in the process of effectuating the transfer of ownership in such securities to Dr.
        Goldberg. In furtherance of the foregoing, on October 17, 2016, Platinum transferred warrants to acquire an aggregate of
        5,411,850 shares of our common stock to Dr. Goldberg, which warrants were exercised in full by Dr. Goldberg on January 17,
        2017 resulting in gross proceeds to the Company of $54,118.50. The Company has been advised that a portion of its
        outstanding debt to Platinum, amounting to approximately $1.4 million, which accrues interest at an annual rate of 14.125%,
        compounded monthly, as evidenced by a third amended and restated promissory note, is currently intended to be transferred to
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    Dr. Goldberg upon consummation of the Asset Sale. 89part
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                                                             of the Platinum debt not transferred to Dr. Goldberg will be
    paid-off by us using proceeds of the Asset Sale as the Asset Purchase Agreement requires that, at closing, all indebtedness of
    the Company be paid in full out of the initial closing cash payment, which includes debts payable to CRG, Platinum and, if the
    foregoing debt transfer occurs, Dr. Goldberg. The Company discussed obtaining a waiver of such requirement with respect to
    any Platinum debt transferred to Dr. Goldberg. Cardinal Health 414 has orally agreed to waive such requirement provided
    there is no security interest in the assets being transferred to Cardinal Health 414. Dr. Goldberg has agreed to not require
    repayment by the Company of any debt transferred to him until the original maturity date of September 30, 2021, and has
    agreed to release any financial covenants and securitization requirements. The Company and Dr. Goldberg intend to finalize
    the negotiation of the definitive terms of such remaining indebtedness. Currently, the Company and Dr. Goldberg have not
    entered into a formal written agreement concerning the terms of such repayment. Pursuant to a settlement agreement, dated as
    of June 16, 2016, among the Company, PPVA, Platinum-Montaur Life Sciences, LLC and others, Platinum agreed to forgive
    interest owed on its credit facility with the Company in an amount equal to 6%, effective July 1, 2016, making the effective
    annual interest rate on the Platinum debt 8.125% as of December 31, 2016.

·   Jed A. Latkin, our Interim Chief Operating Officer and Chief Financial Officer, was an independent consultant that served as a
    portfolio manager from 2011 through 2015 for two entities, namely Precious Capital and West Ventures, each of which were
    during that time owned and controlled, respectively, by PPVA and Platinum Partners Capital Opportunities Fund, L.P. Mr.
    Latkin was party to a consulting agreement with each of Precious Capital and West Ventures pursuant to which, as of April
    2015, an aggregate of approximately $13 million was owed to him, which amount was never paid and Mr. Latkin has no
    information as to the current value. Mr. Latkin’s consulting agreements were terminated upon his ceasing to be an independent
    consultant in April 2015 with such entities. During his consultancy, Mr. Latkin was granted a .5% ownership interest in each
    of Precious Capital and West Ventures, however, to his knowledge he no longer owns such interests. In addition, PPVA owes
    Mr. Latkin $350,000 for unpaid consulting fees earned and expenses accrued in 2015 in respect of multiple consulting roles
    with them. Except as set forth above, Mr. Latkin has no other past or present affiliations with Platinum.

·   Dr. Eric Rowinsky, our director, was recommended for appointment to the Company’s Board of Directors by Dr. Goldberg at a
    time when Dr. Goldberg was affiliated with Platinum and has, since that time, been elected by the Company’s stockholders to
    continue to serve as an independent director. At no time has Dr. Rowinsky been affiliated, or in any way related to, any of the
    Platinum entities.


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    ·    the expectation that a portion of the consideration we will receive in connection with the Asset Sale will be subject to certain
         U.S. federal, state, and local income and other taxes;

    ·    the risk that unforeseen liabilities and expenses may be incurred that may limit the ultimate amount of net proceeds from the
         Asset Sale; and

    ·    the significant costs involved in consummating the Asset Sale, including legal and accounting and other costs, which we
         estimate to be approximately $600,000.

          After careful and due consideration, our Board of Directors concluded that overall, the risks, uncertainties, restrictions and
potentially negative factors associated with the Asset Sale were outweighed by the potential benefits of the Asset Sale, and that many
of these risks could be managed or mitigated prior to the consummation of the Asset Sale or were unlikely to have a material adverse
effect on our Company.

         The foregoing information and factors considered by our Board of Directors are not intended to be exhaustive. In view of the
variety of factors and the amount of information considered, our Board of Directors did not find it practicable to, and did not, quantify,
rank or otherwise assign relative weights to the specific factors it considered in approving the Asset Sale and the Asset Purchase
Agreement. In addition, individual members of our Board of Directors may have given different weights to different factors. Our Board
of Directors considered all of these factors as a whole, and overall considered them to be favorable to support its determination.

Interests of Our Directors and Executive Officers in the Asset Sale

          In considering the recommendation of our Board of Directors to vote for the proposal to adopt and approve the Asset Sale,
you should be aware that some of our directors and executive officers may have personal interests in the Asset Sale that are, or may be,
different from, or in addition to, your interests.

          Dr. Michael Goldberg, our President and Chief Executive Officer, previously managed a portfolio of funds for Platinum from
May 2007 until December 2013. In 2011, he made an initial investment of $1.5 million in PPVA as a passive investor. Dr. Goldberg
believes his current investment balance is approximately $1.4 million after giving effect to prior redemptions and reinvestments. Dr.
Goldberg was not a member of the management of any of the Platinum entities; rather he solely had control over the trading activities
of a portfolio of health care investments from funds allocated to him from the Platinum funds. Dr. Goldberg was responsible for all
investments made by Platinum in the Company and for the trading in the Company’s securities up until he joined the Company’s Board
of Directors in November 2013, at which time he relinquished all control over the trading of the Company’s securities held by all of the
Platinum entities. On December 13, 2013, Dr. Goldberg formally separated from Platinum and had no further role in managing their
health care portfolio. As part of his separation from Platinum, Dr. Goldberg entered into a settlement agreement, dated March 28, 2014,
and amended on June 11, 2015, with PPVA pursuant to which Dr. Goldberg was entitled to receive a beneficial ownership interest in
15% of (1) all securities held by Platinum at the time of his separation from Platinum which included, without limitation, warrants to
purchase the Company’s common stock, and (2) the drawn amounts from the Platinum debt facility. Dr. Goldberg and Platinum are
presently in the process of effectuating the transfer of ownership in such securities to Dr. Goldberg. In furtherance of the foregoing, on
October 17, 2016, Platinum transferred warrants to acquire an aggregate of 5,411,850 shares of our common stock to Dr. Goldberg,
which warrants were exercised in full by Dr. Goldberg on January 17, 2017 resulting in gross proceeds to the Company of $54,118.50.
The Company has been advised that a portion of its outstanding debt to Platinum, amounting to approximately $1.4 million, which
accrues interest at an annual rate of 14.125%, compounded monthly, as evidenced by a third amended and restated promissory note, is
currently intended to be transferred to Dr. Goldberg upon consummation of the Asset Sale. That part of the Platinum debt not
transferred to Dr. Goldberg will be paid-off by us using proceeds of the Asset Sale as the Asset Purchase Agreement requires that, at
closing, all indebtedness of the Company be paid in full out of the initial closing cash payment, which includes debts payable to CRG,
Platinum and, if the foregoing debt transfer occurs, Dr. Goldberg. The Company discussed obtaining a waiver of such requirement with
respect to any Platinum debt transferred to Dr. Goldberg. Cardinal Health 414 has orally agreed to waive such requirement provided
there is no security interest in the assets being transferred to Cardinal Health 414. Dr. Goldberg has agreed to not require repayment by
the Company of any debt transferred to him until the original maturity date of September 30, 2021, and has agreed to release any
financial covenants and securitization requirements. The Company and Dr. Goldberg intend to finalize the negotiation of the definitive
terms of such remaining indebtedness. Currently, the Company and Dr. Goldberg have not entered into a formal written agreement
concerning the terms of such repayment. Pursuant to a settlement agreement, dated as of June 16, 2016, among the Company, PPVA,
Platinum-Montaur Life Sciences, LLC and others, Platinum agreed to forgive interest owed on its credit facility with the Company in
an amount equal to 6%, effective July 1, 2016, making the effective annual interest rate on the Platinum debt 8.125% as of December
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         Jed A. Latkin, our Interim Chief Operating OfficerPg
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                                                               Chief 102 Officer, was an independent consultant that served as a
portfolio manager from 2011 through 2015 for two entities, namely Precious Capital and West Ventures, each of which were during
that time owned and controlled, respectively, by PPVA and Platinum Partners Capital Opportunities Fund, L.P. Mr. Latkin was party to
a consulting agreement with each of Precious Capital and West Ventures pursuant to which, as of April 2015, an aggregate of
approximately $13 million was owed to him, which amount was never paid and Mr. Latkin has no information as to the current value.
Mr. Latkin’s consulting agreements were terminated upon his ceasing to be an independent consultant in April 2015 with such entities.
During his consultancy, Mr. Latkin was granted a .5% ownership interest in each of Precious Capital and West Ventures, however, to
his knowledge he no longer owns such interests. In addition, PPVA owes Mr. Latkin $350,000 for unpaid consulting fees earned and
expenses accrued in 2015 in respect of multiple consulting roles with them. Except as set forth above, Mr. Latkin has no other past or
present affiliations with Platinum.

         Dr. Eric Rowinsky, our director, was recommended for appointment to the Company’s Board of Directors by Dr. Goldberg at a
time when Dr. Goldberg was affiliated with Platinum and has, since that time, been elected by the Company’s stockholders to continue
to serve as an independent director. At no time has Dr. Rowinsky been affiliated, or in any way related to, any of the Platinum entities.


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Holland & Knight
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 Holland & Knight LLP   I www.hklaw.com


Warren E. Gluck
212-513-3396
warren.gluck@hklaw.com



March 16, 2017

Via Hand Delivery and E-mail to mgoldberg@montaurcap.com

Michael Goldberg, M.D.
Montaur Capital Partners, LLC
207 Booth Avenue
Englewood, New Jersey 07631

          Re:       Exercise of Navidea Biopharmaceuticals, Inc. Warrants by Michael Goldberg

Dear Mr. Goldberg:

        This firm represents Matthew Wright and Christopher Kennedy in their capacities as the
Joint Official Liquidators (the "Liquidators") of Platinum Partners Value Arbitrage Fund L.P.
("PPVA"). On October 27, 2016 and December 16, 2016, the Financial Services Division of the
Grand Court of the Cayman Islands issued orders directing the official winding up of PPVA (the
"Cayman Liquidation") and appointing Messrs. Wright and Kennedy as the joint official
liquidators thereof. The Bankruptcy Court for the Southern District of New York entered an order
recognizing the Cayman Liquidation as a foreign main proceeding and the Liquidators as the
foreign representatives of PPVA pursuant to chapter 15 of the Bankruptcy Code on November 22,
2016 (the "Chapter 15 Order"). See In re Platinum Partners Value Arbitrage Fund. L.P. (in
Official Liquidation), et al., No. 16-12925 (SCC) (Bankr. S.D.N.Y., Dkt. 27). A copy of the
Chapter 15 Order is enclosed herewith.

        PPVA is the sole member of Montsant Partners LLC ("Montsant") and the holder of 99%
of the membership interests in Platinum-Montaur Life Sciences LLC ("Platinum Montaur").

       On or about August 20, 2015, Navidea Biopharmaceuticals, Inc. ("Navidea") entered into
that certain Securities Exchange Agreement with PPVA and Montsant (the "Exchange
Agreement"), by which PPVA and Montsant exchanged Series B preferred stock in Navidea that
they then held for warrants to purchase Navidea common stock. Among other things, under the
terms of the Exchange Agreement, Navidea issued 9,365,280 warrants to Montsant (the
"Montsant Warrants") and 5,411,850 warrants to PPVA (the "PPVA Warrants").

       In its February 8, 2017 14A Definitive Proxy Statement (the "Proxy"), Navidea disclosed
that on October 17, 2016, "Platinum Montaur Life Sciences LLC and its affiliates" transferred
5,411,850 warrants, which appear to correspond exactly to the PPVA Warrants, to Michael



Anchorage I Atlanta I Austin I Boston I Charlotte I Chicago I Dallas I Denver I Fort Lauderdale \ Houston \ Jacksonville \ Lakeland
Los Angeles I Miami I New York \ Northern Virginia / Orlando / Portland \ San Francisco \ Stamford \ Tallahassee I Tampa
Washington, D.C. I West Palm Beach
  16-12925-scc       Doc 112-1      Filed 10/05/18 Entered 10/05/18 17:18:55              Exhibit 1-14
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Goldberg, President and Chief Executive Officer of Navidea (the "Goldberg Transfer"). The
Proxy further indicates that Dr. Goldberg purportedly exercised the warrants he received in
connection with the Goldberg Transfer on or about January 17, 2017 (the "Goldberg Exercise").

        Paragraph 7(b) of the Chapter 15 Order expressly authorizes the Liquidators to "examine
witnesses, take evidence, and seek the production of documents within the territorial jurisdiction
of the United States concerning the assets, affairs, rights, obligations or liabilities of the [PPVA
and PPVA International], [their] affiliates and [their subsidiaries by ... [inter alia] written request
[to] obtain[ ] turnover of any and all documents, records, filings, or other information, however
stored, including but not limited to emails that are property of, concern or were made or issued on
behalf of the [PPVA and PPVA International], from any person or entity subject to [the] Court's
jurisdiction .... " Accordingly, the Liquidators request that Goldberg produce copies of the
following documents by March 30, within 10 business days of the day hereof:

        1.      All documents or communications between and among (i) Navidea, its officers,
directors, employees, representatives, attorneys, agents and assigns (the "Navidea Parties"), and
(ii) PPVA, Montsant, Platinum Montaur, Platinum Management (NY) LLC ("Platinum
Manager"), and any of their respective members, operators, officers, directors, employees,
subsidiaries, affiliates, representatives, attorneys, or agents (the "Platinum Parties"), concerning
the issuance of the PPVA Warrants and the Montsant Warrants;

        2.     All documents or communications between the Navidea Parties and any of the
Platinum Parties concerning the transfer or assignment of the PPVA Warrants or the Montsant
Warrants at any time to any other person, including but not limited to Michael Goldberg, his
agents, attorneys, representatives, assigns or any other person or entity acting on his behalf (the
"Goldberg Parties");

       3.    All documents concerning the purported October 2016 transfer of warrants by
Platinum Montaur and its affiliates to Michael Goldberg, as described in the Navidea Proxy.

        4.      All documents concerning the purported Goldberg Exercise in or about January
2017;

      5.      All documents or communications between and among the Navidea Parties and the
Goldberg Parties concerning the purported transfer any of the PPVA Warrants or Montsant
Warrants to Dr. Goldberg or any of the Goldberg Parties;

      6.      All documents or communications between and among the Navidea Parties and the
Goldberg Parties concerning the purported Goldberg Exercise.

       7.      All documents or communications between the Navidea Parties and any other
person or entity concerning the purported Goldberg Transfer or the Goldberg Exercise.
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       8.      All documents or communications concerning the source of the information
contained in the Navidea Proxy regarding the purported Goldberg Transfer and the Goldberg
Exercise.

        The Liquidators reserve the right to request additional documents and testimony, as well
as all of their rights at law and equity.

       Please call me if you have any questions regarding the foregoing requests.

Very truly yours,

HOLLAND & KNIGHT LLP



Warren E. Gluck

cc:    Matthew Wright (By E-Mail)
       Christopher Kennedy (By E-Mail)
       Barbra R. Parlin, Esq. (By E-Mail)
       Mitchell J. Geller, Esq. (By E-Mail)
                16-12925-scc                  Doc 112-1              Filed 10/05/18 Entered 10/05/18 17:18:55                         Exhibit 1-14
                                                                             Pg 96 of 102
82570 (Form 2570 - Subpoena to Produce Documents, Informal!on, or Ob1ects or To Permit Inspection ma Bankruptcy Case or Adversary Proceeding) (12/15)

                                           UNITED STATES BANKRUPTCY COURT
    Southern                                                                          District of New York
    ~~~--~~~-~~-----~--~                                                                        -~-~-~~~-----------~
In re   Platinum Partners Value Arbitrage Fund L P (In Official L1qu1dat1on), et al

                                         Debtor
                                                                                           Case No. 16-12925 (SCC)
           (Complete      if issued in an adversary proceeding)
                                                                                           Chapter 15
                                                                                                  -----
                                        Plaintiff
                                            V.
                                                                                           Adv. Proc. No. - - - - - - -
                                       Defendant

          SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS OR TO PERMIT
          INSPECTION OF PREMISES IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)
 To: Michael Goldberg, Montaur Capital Partners, LLC, 207 Booth Avenue, Englewood, NJ 07631
                                                                 (Name ofperson to whom the subpoena is directed)

 IiiProduction: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
 documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
 material: See Schedule A

 PLACE                                                                                                       DA TE AND TIME
 Holland & Knight LLP, 31West52nd St., New York, NY 10019 March 30, 2017

 0   Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
 other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
 may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.
IPLACE                                                                                                       I
                                                                                                             DATE AND TIME




         The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
 attached- Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
 subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
 doing so.

 Date: 03/16/2017
                                         CLERK OF COURT

                                                                                           OR

                                        Signature of Clerk or Deputy Clerk                           Attorney's signature

 The name, address, email address, and telephone number of the attorney representing (name ofparty)
  l1qu1dators of Platinum Partners Value Arbitrage Fund LP , who iSSUeS Or requests this Subpoena, are;

 Warren E. Gluck, Holland & Knight LLP, 31West52nd St., New York, NY 10019, (212) 513-3200, warren.gluck@hklaw.com
                                                        Notice to the person who issues or requests this subpoena
 If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
 inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
 the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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82570 (Fonn 2570 - Subpoena to Produce Documents, Infonnat1on, or Objects or To Penn1t Inspect10n ma Bankruptcy Case or Adversary Proceeding) (Page 2)



                                                               PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title,               if any):
0 n (date) _ _ __
                                                                                     ---------------------

[I I served the subpoena by delivering a copy to the named person as follows: - - - - - - - - - - - - - - - - -

_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ on(date) _ _ _ _ _ _ _ _ _ ;or


01 returned the subpoena unexecuted because:                   ----------------------------



Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
witness the fees for one day's attendance, and the mileage allowed by law, in the amount of$ _ _ _ _ _ _ _ _ __

 My fees are $ _ _ _ _ for travel and $_ _ _ _ for services, for a total of$ _ _ __


           I declare under penalty of perjury that this information is true and correct.

Dme: _ _ _ _ _ __

                                                                                                               Server's signature


                                                                                                            Printed name and title




                                                                                                                Server's address



Additional information concerning attempted service, etc.:
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82570 (Form 2570 - Subpoena to Produce Documents, Information, or Objects or To Permit Inspection in a Bankruptcy Case or Adversary Proceeding) (Page 3)
                   £   ~




                              Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                           (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)
 (c) Place of compliance.
                                                                                             (ii) disclosing an unretained expert's opinion or information that does
                                                                                       not describe specific occurrences in dispute and results from the expert's
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                    study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                          (C) Specifying Conditions as an Alternative. In the circumstances
    (A) within 100 miles of where the person resides, is employed, or                  described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                             modifying a subpoena, order appearance or production under specified
    (B) within the state where the person resides, is employed, or regularly           conditions if the serving party:
transacts business in person, ifthe person                                                    (i) shows a substantial need for the testimony or material that cannot
      (i) is a party or a party's officer; or                                          be otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial                    (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                               compensated.

  (2) For Other Discovery. A subpoena may command:                                     (e) Duties in Responding to a Subpoena.
    (A) production of documents, or electronically stored information, or
things at a place within 100 miles of where the person resides, is employed,             (1) Producing Documents or Electronically Stored information. These
or regularly transacts business in person; and                                         procedures apply to producing documents or electronically stored
    (B) inspection of premises, at the premises to be inspected.                       information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                                (A) Documents. A person responding to a subpoena to produce
                                                                                       documents must produce them as they are kept in the ordinary course of
                                                                                       business or must organize and label them to correspond to the categories in
      (1) Avoiding Undue Burden or Expense; Sanctions. A party or
                                                                                       the demand.
attorney responsible for issuing and serving a subpoena must take
                                                                                           (8) Form for Producing Electronically Stored Information Not
reasonable steps to avoid imposing undue burden or expense on a person
                                                                                       Specified. If a subpoena does not specify a form for producing
subject to the subpoena. The court for the district where compliance is
                                                                                       electronically stored information, the person responding must produce it in
required must enforce this duty and impose an appropriate sanction -
                                                                                       a form or forms in which it is ordinarily maintained or in a reasonably
which may include lost earnings and reasonable attorney's fees - on a
                                                                                       usable form or forms.
party or attorney who fails to comply.
                                                                                           (C) Electronically Stored information Produced in Only One Form. The
                                                                                       person responding need not produce the same electronically stored
  (2) Command to Produce Materials or Permit Inspection.
                                                                                       information in more than one form.
     (A) Appearance Not Required. A person commanded to produce
                                                                                           (D) Inaccessible Electronically Stored information. The person
documents, electronically stored information, or tangible things, or to
                                                                                       responding need not provide discovery of electronically stored information
permit the inspection of premises, need not appear in person at the place of
                                                                                       from sources that the person identifies as not reasonably accessible because
production or inspection unless also commanded to appear for a deposition,
                                                                                       of undue burden or cost. On motion to compel discovery or for a protective
hearing, or trial.
                                                                                       order, the person responding must show that the information is not
     (B) Objectwns. A person commanded to produce documents or tangible
                                                                                       reasonably accessible because of undue burden or cost. If that showing is
things or to permit inspection may serve on the party or attorney designated
                                                                                       made, the court may nonetheless order discovery from such sources ifthe
in the subpoena a written objection to inspecting, copying, testing or
                                                                                       requesting party shows good cause, considering the limitations of Rule
sampling any or all of the materials or to inspecting the premises - or to
                                                                                       26(b)(2)(C). The court may specify conditions for the discovery.
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
                                                                                          (2) Claiming Privilege or Protectwn.
compliance or 14 days after the subpoena is served. If an objection is made,
                                                                                            (A) Jnformat1on Withheld. A person withholding subpoenaed
the following rules apply:                                                             information under a claim that it is privileged or subject to protection as
       (i) At any time, on notice to the commanded person, the serving party
                                                                                       trial-preparation material must:
may move the court for the district where compliance is required for an                       (i) expressly make the claim; and
order compelling production or inspection.                                                     (ii) describe the nature of the withheld documents, communications,
       (ii) These acts may be required only as directed in the order, and the
                                                                                       or tangible things in a manner that, without revealing information itself
order must protect a person who is neither a party nor a party's officer from          privileged or protected, will enable the parties to assess the claim.
significant expense resulting from compliance.                                              (8) Information Produced. If information produced in response to a
                                                                                       subpoena is subject to a claim of privilege or of protection as trial-
  (3) Quashing or ModlfYing a Subpoena.                          . .                   preparation material, the person making the claim may notify any party that
    (A) When Required. On timely motion, the court for the d1str1ct where              received the information of the claim and the basis for it. After being
cpmpliance is required must quash or modify a subpoena that:
                                                                                       notified, a party must promptly return, sequester, or _destroy the. specifie~
      (i) fails to allow a reasonable time to comply;                                  information and any copies it has; must not use or disclose the mformat1on
      (ii) requires a person to comply beyond the geographical limits                  until the claim is resolved; must take reasonable steps to retrieve the
specified in Rule 45(c);                                                 .             information ifthe party disclosed it before being notified; and may
      (iii) requires disclosure of privileged or other protected matter, 1fno          promptly present the information under seal to the court for the district
exception or waiver applies; or                                                        where compliance is required for a determination of the claim. The person
      (iv) subjects a person to undue burden.                                          who produced the information must preserve the information until the claim
    (B) When Permitted. To protect a person subject to or affected by a
                                                                                       is re so1ved.
subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena ifit requires:                                   Cg) Contempt. The court for the district where compliance is required- and
      (i) disclosing a trade secret or other confidential research,                   also, after a motion is transferred, the issuing court - may hold in contempt
development, or commercial information; or                                            a person who, having been served, fails without adequate excuse to obey
                                                                                      the subpoena or an order related to it


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)
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                                       SCHEDULE A
Instructions:

        1.      Unless otherwise indicated, all document requests below seek responsive

documents from the time period of March 14, 201 Oto the present.

       2.       In answering these document requests, you are requested to furnish all documents

available to you regardless of whether this information is possessed directly by you, your agents,

representatives, employees, representatives, or investigators, or by any other legal or non-legal

entities controlled by and/or in any manner affiliated with you.

       3.       These document requests are continuing in nature. If, at any time after service of

the initial answers hereto and prior to the closing of factual discovery in this action, you obtain

additional information responsive to these document requests, you are required to supplement or

amend your answers.

       4.       Where a claim of privilege is asserted in objecting to any document request or part

thereof, please follow the requirements set forth in the Local Bankruptcy Rules for the Southern

District ofNew York.

       5.       If the responding party elects to specify and produce business records in answer to

any document request, the specification shall be in sufficient detail to permit the requesting party

to locate and identify, as readily as the responding party can, the business records from which the

answer may be ascertained.

       6.       If, in answering these document requests, the responding party encounters any

ambiguities when construing a question, instruction, or definition, the responding party's answer

shall set forth the matter deemed ambiguous and the construction used in answering.
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 Definitions:

          Notwithstanding any definition below, each word, term, or phrase used in these requests

for the production of documents is intended to have the broadest meaning permitted under the

Federal Rules of Civil Procedure. All capitalized terms not expressly defined in these requests for

production of documents shall have the meanings ascribed to them in the cover letter delivered

along with this subpoena and Schedule A.

          1.    Account: The term "account" includes any bank account, brokerage account,

checking account, investment account, money market account, securities account, or any other

type of account maintained by and through the bank or any of its affiliates, subsidiaries or related

companies.

         2.      Wire Transfer: The term "wire transfer" refers to any electronic transfer of funds.

All terms used in connection with the term "wire transfer," such as "originator" and "beneficiary"

have the meanings set forth in Article 4A of the Uniform Commercial Code.

         3.      You/Your:     The terms "you" or "your" include the person(s) to whom these

requests are addressed, and all of that person's agents, representatives, and attorneys. The present

tense includes the past and future tenses. The singular includes the plural, and the plural includes

the singular. "All" means "any and all," "any" means "any and all." "Including" means "including

but not limited to," "and" and "or" encompass both "and" and "or." Words in the masculine,

feminine, or neutral form shall include each of the other genders.

         4.      Concerning: The term "concerning" means relating to, referring to, describing,

evidencing, or constituting.

         5.     Communication: The term "communication" means the transmittal of information

by any means.




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          6.    Document: The terms "document" and "documents" are defined to be synonymous

 in meaning and equal in scope to the usage of the term "documents" and include(s) the term

"writing" as well as, but not limited to, books, records, minutes, letters, telegrams, memoranda,

diaries, calendars, notes, worksheets, reports, surveys, calculations, cards, invoices, financial

statements, accounts, checks, emails, receipts and any other written or printed matters, including

computer tapes, discs, records and printouts and drafts of any of the foregoing, in whatever form

any of such materials may appear and in whatever language, and all other tangible things on which

words, figures, notations or sounds are recorded in writing, or by any other means, and any such

material underlying, supporting or used in the preparation of any of the foregoing and all originals,

counterparts and copies of the foregoing.

Requested Documents:

         1.    All documents or communications from March 14, 2010 to the present between and

among (i) Navidea Biopharmaceuticals, Inc., its officers, directors, employees, representatives,

attorneys, agents and assigns (the "Navidea Parties"), and (ii) PPVA, Montsant, Platinum

Montaur, Platinum Management (NY) LLC ("Platinum Manager"), and any of their respective

members, operators, officers, directors, employees, subsidiaries, affiliates, representatives,

attorneys, or agents (the "Platinum Parties"), concerning the issuance of the PPVA Warrants and

the Montsant Warrants;

         2.    All documents or communications from March 14, 2010 to the present between the

Navidea Parties and any of the Platinum Parties concerning the transfer or assignment of the PPV A -

Warrants or the Montsant Warrants at any time to any other person, including but not limited to

Michael Goldberg, his agents, attorneys, representatives, assigns or any other person or entity

acting on his behalf (the "Goldberg Parties");



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         3.    All documents from March 14, 2010 to the present concerning the purported

October 2016 transfer of warrants by Platinum Montaur and its affiliates to Michael Goldberg, as

described in the Navidea Proxy.

         4.    All documents from March 14, 2010 to the present concerning the purported

Goldberg Exercise in or about January 2017;

         5.    All documents or communications from March 14, 2010 to the present between and

among the Navidea Parties and the Goldberg Parties concerning the purported transfer any of the

PPVA Warrants or Montsant Warrants to Dr. Goldberg or any of the Goldberg Parties;

         6.    All documents or communications from March 14, 2010 to the present between and

among the Navidea Parties and the Goldberg Parties concerning the purported Goldberg Exercise.

         7.    All documents or communications from March 14, 2010 to the present between the

Navidea Parties and any other person or entity concerning the purported Goldberg Transfer or the

Goldberg Exercise.

         8.    All documents or communications from March 14, 2010 to the present concerning

the source of the information contained in the Navidea Proxy regarding the purported Goldberg

Transfer and the Goldberg Exercise.




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